         Case 1:24-cv-03188-RC       Document 21     Filed 02/10/25       Page 1 of 40




                         
                              
                                               
    $)"(-)($)"(-)("&.",               
    -3-.'-#( 
                                                 
    
    5+37=300                                  
                                                
    M
                                                8J<(F   :M  
    ),)."3 #(%@E?<IF==@:@8C:8G8:@KP
    8E;/ - *,.'(.) "&."(
    "/'(-,0#-
    
    8E;
    
    #(-*#()-@E?<IF==@:@8C:8G8:@KP
    8E;"&.",-)/,-(-,0#
    '#(#-.,.#)(
    /0/7.+7=<

                             
                                         
                          
                    :   


                                           1@CC@8D -8II8@CC<  8I(F  
                                           -      
                                             ', 
                                           !I<8K 8CCJ0 
                                           .<C<G?FE<  
                                           N@CC@8DJ8II8@CC<@:CFL; :FD
                                           
                                           8>7</508;#73=/.+7..?8-+-B



8K<; <9IL8IP     





                                               

       Case 1:24-cv-03188-RC            Document 21        Filed 02/10/25       Page 2 of 40





       D@:@LI@8< /E@K<;W /E@K<;X8E;*;MF:8:PJJF:@8K@FE#E: W*

;MF:8:PX9FK?G8K@<EK8;MF:8:P>IFLGJDFM<K?@JFLIK9P8E;K?IFL>?:FLEJ<C=FIC<8M<KF

=@C<8E8D@:LJ9I@<=@EJLGGFIKF=*C8@EK@==ZJ'FK@FE=FI-LDD8IP$L;>D<EK *C8@EK@==ZJDFK@FE

I8@J<J8J<I@<JF=:I@K@:8CCP@DGFIK8EKG8K@<EK@JJL<J JG8K@<EK8;MF:8K<JD@:@LI@8<8I<

;<<GCP:FE:<IE<;K?8KK?< GIF>I8D@J9IFB<E8E;=8@C@E>G8K@<EKJ  8J@K<OGCF;<J@E

J@Q<8E;><E<I8K<J9@CC@FEJF=;FCC8IJ=FI:FM<I<;<EK@K@<JG8IK@:LC8ICP ?FJG@K8CJJ?FNJEF

:FII<JGFE;@E>9<E<=@KKFLE@EJLI<;8E;LE;<I@EJLI<;G8K@<EKJ@EK?<=FIDF=:?8I@KP:8I<

8JJ@JK8E:<@E:CL;@E>CFN<IFLK F= GF:B<K:FJKJ8KK?<G?8ID8:P:FLEK<I #E;<<;8JK?<GIF>I8D

@J9LI><FE@E>:?8I@KP:8I<I8K@FJ=FI ?FJG@K8CJ?8M<0+55/7 

       CK?FL>?*C8@EK@==JG<E;JJFD<F=@KJ9I@<=@E>I<>8I;@E>K?<I<98K<DF;<CFEK?<G8K@<EK

G<IJG<:K@M<D@:@LI@8<9<C@<M<K?8KK?<8D@:LJ9I@<=K?8KK?<P?8M<GI<G8I<;N@CCJ@>E@=@:8EKCP

;<<G<EK?<FLIKZJLE;<IJK8E;@E>F=K?<@DGFIK8E:<F=K?<I<98K<DF;<CKFG8K@<EKJ8E;N?PK?8K

DF;<C@JJF;<JG<I8K<CPE<<;<; /CK@D8K<CP9<:8LJ<D8EL=8:KLI<IJC@B<*C8@EK@==8E;K?<

>FM<IED<EK?8M<K?<@IFNEG<IJG<:K@M<JFEK?< GIF>I8D8;@JK@E:KCPG8K@<EK =F:LJ<;

G<IJG<:K@M<@JE<<;<;KF=LCCP8;;I<JJK?<@DGFIK8EK@JJL<JI8@J<;?<I< .?8K;@JK@E:KG<IJG<:K@M<

@JI<=C<:K<;@ED@:@LI@8<ZJLE;<IJK8E;@E>F=K?<FI@>@EJF= GIF>I8DK?<GLIGFJ<F=@KJ

<OG8EJ@FELE;<IK?<==FI;89C<8I<:KK?<;@J8GGF@EK@E><==<:KF=K?8K<OG8EJ@FEFE:?8I@KP

:8I<@E:CL;@E>8KK?<G?8ID8:P:FLEK<IK?<GFK<EK@8C@DG8:KF=8I<98K<DF;<CFEK?<I<JLCK@E>

8E;G8K@<EK:I@K@:8C8==FI;89@C@KP@JJL<J8E;N?P=IFD8G8K@<EKG<IJG<:K@M<K?<K<OKJKIL:KLI<

8E;GLIGFJ<F=K?< JK8KLK<;<DFEJKI8K<K?8KI<98K<J8I<JG<:@=@:8CCP8LK?FI@Q<;9PJK8KLK< 

        /E@K<;@J8>I8JJIFFKJ8;MF:8:PFI>8E@Q8K@FEC<;9PI8I<;@J<8J<G8K@<EKJ8E;

:8I<>@M<IJ J8E@E;<G<E;<EKG8K@<EKMF@:<@K@J;<;@:8K<;KF:I<8K@E>8==FI;89C<8::<JJKFC@=<

J8M@E>D<;@:8K@FEJ .?IFL>?8;MF:8:P<;L:8K@FE8E;:FDDLE@KP<E>8><D<EK@K8DGC@=@<J

                                                    

          Case 1:24-cv-03188-RC          Document 21        Filed 02/10/25       Page 3 of 40




G8K@<EKMF@:<JKF;I@M<D<8E@E>=LCGFC@:P:?8E><8E;GIFK<:KK?<I@>?KJF=K?FJ<C@M@E>N@K?I8I<

;@J<8J<J8E;:FDGC<OD<;@:8C:FE;@K@FEJ -8;CP:PJK@:=@9IFJ@JG8K@<EKJKPG@:8CCPJG<E;

J@>E@=@:8EKJG8EJF=K@D<@E?FJG@K8CJJFD<K@D<J=FIN<<BJ8K8K@D< CK?FL>?K?FJ<8;D@JJ@FEJ

F=K<EF::LI8K ?FJG@K8CJ8CCKFFD8EP:PJK@:=@9IFJ@JG8K@<EKJ8I<EFKF==<I<;:?8I@KP:8I<

<@K?<IN@K?K?<:FJKJ8JJF:@8K<;N@K?K?<@I?FJG@K8CJK8PJFIFEK?<FLKG8K@<EK ;IL>JK?<P

;<G<E;=FIK?<@I?<8CK?8E;N<CC 9<@E>K?<I<8=K<I #E;<<;D8EPG8K@<EKJ8I<E<M<I<M<E@E=FID<;

9PK?FJ< ?FJG@K8CJK?8KK?<I<@JJL:?8K?@E>8JW:?8I@KP:8I<X .?<:FEJ<HL<E:<F=K?@J@J

K?8KDFJKG8K@<EKJ;<JG@K<K?<;I8D8K@:8CCPCFN<IGI@:@E>F==<I<;LE;<IK?< GIF>I8D;FEFK

J?8I<@EK?8KGI@:@E>8K8CC 

          * ;MF:8:PZJ D@JJ@FE @J KF GIFDFK< 8E; <E?8E:< K?< #- IL> JJ@JK8E:<

*IF>I8DJ *J 8E; @DGIFM< 8::<JJ KF :8I< =FI G<IJFEJ C@M@E> N@K? "#0 #-   *

;MF:8:PNFIBJN@K?8I8E><F=JK8B<?FC;<IJKF=FJK<I>I<8K<I:FDDLE@KP:FCC89FI8K@FE=FIK?<

9<E<=@KF=G8K@<EKJ #KJKIFE>CPJLGGFIKJK?< GIF>I8D8J8GFK<EK@8CD<8EJKFD8B<?<8CK?:8I<

=FI G8K@<EKJ DFI< 8==FI;89C< 9P JLGGCP@E>   :FM<I<; <EK@K@<J N@K? JL9J@;@<J K?8K :8E 8E;

J?FLC;9<LJ<;KFJLGGFIK8I<8JFE89C<C<M<CF=:?8I@KP:8I<KFK?<LE@EJLI<;8E;LE;<I@EJLI<;

@E:CL;@E> 8K K?< G?8ID8:P :FLEK<I  /E=FIKLE8K<CP ;<JG@K< K?< <OGCFJ@M< >IFNK? F= K?<  

GIF>I8D N?@:? EFN ><E<I8K<J 8GGIFO@D8K<CP  9@CC@FE @E GIF=@KJ KF :FM<I<; <EK@K@<J FE 8E

8EEL8C98J@JD8EP :FM<I<;<EK@K@<JG8IK@:LC8ICP ?FJG@K8CJGIFM@;<8E89PJD8CCPCFN

C<M<CF=:?8I@KP:8I< 



                                 

    <:8LJ<F=K?<;@==<I<E:<J9<KN<<E ?FJG@K8CJ8E;JFD<FK?<I:FM<I<;<EK@K@<JC@B<:C@E@:J
J<IM@E>"#08E;#-G8K@<EKJD@:@LI@8<8GGI<:@8K<K?8K@E;<GCFP@E>I<98K<D<:?8E@JDJ
D8EL=8:KLI<IJC@B<*C8@EK@==?8M<K8B<EJL:?JK<GJ8J:8IM@E>FLKJFD< :C@E@:KPG<J
C@D@K@E>K?<ELD9<IF=;IL>J@EMFCM<;;<J@>E@E>I8G@;G8PD<EKKLIE 8IFLE;J8E; FI:FEJ@;<I@E>
<M<E=8JK<IG8PD<EKJN?<I<8:FM<I<;<EK@KP:FDD@KJKFJ?8I< GI@:@E>N@K?G8K@<EKJ 

                                                   

         Case 1:24-cv-03188-RC             Document 21          Filed 02/10/25         Page 4 of 40




         #DGFIK8EKCP8JI<=C<:K<;@EK?<GIFGFJ<;8D@:LJ*;MF:8:P?8JGI<G8I<;8W 

'8GXK?8KJ?FNJ=FIM8I@FLJ=8:@C@K@<J?FNK?<GIF>I8D?8J>IFNEK?<C<M<CF=:?@<=<O<:LK@M<

:FDG<EJ8K@FEN?@:?F=K<E?8J@E:I<8J<;HL@K<;I8D8K@:8CCP8E;K?<C<M<CF=:?8I@KP:8I<N?@:?

=8@CJ I8K?<I :FEJ@JK<EKCP KF :FII<JGFE; @E 8EP D<8E@E>=LC N8P KF K?< <OGCFJ@M< GIF>I8D

<OG8EJ@FE *;MF:8:P9<C@<M<JK?8KK?@J;8K8N@CC9<LJ<=LC=FIK?<FLIKKF:FEJ@;<I@E

8;;I<JJ@E>K?<@JJL<J=I8D<;9PK?@J:8J< 

         (FG8IKPZJ:FLEJ<C8LK?FI<;K?@J9I@<=@EN?FC<FI@EG8IK8E;EFG8IKP@KJ:FLEJ<CFI8EP

FK?<I G<IJFEVFK?<I K?8E D@:@ LI@8< FI @KJ :FLEJ<CV:FEKI@9LK<; DFE<P @EK<E;<; KF =LE;

GI<G8I8K@FEFIJL9D@JJ@FEF=K?@J9I@<= !// <; , GG * 8 *C8@EK@==?8J:FEJ<EK<;KF

K?<=@C@E>F=K?@J8D@:LJ9I@<=8E;K?<>FM<IED<EKK8B<JEFGFJ@K@FE 

         #E;<98K@E>K?< GIF>I8DK?<"<8CK?8I<,<JFLI:<J8E;-<IM@:<J;D@E@JKI8K@FE8E;

FK?<IJ F=K<E =8@C KF :FEJ@;<I K?< G<IJG<:K@M< 8E; E<<;J F= K?< G8K@<EK   1< LI>< K?@J FLIK @E

8;;I<JJ@E> K?< @DGFIK8EK @JJL<J GI<J<EK<; ?<I< KF :FEJ@;<I K?8K G<IJG<:K@M< 8E; K?FJ< E<<;J 

D@:@JL9D@KK?<GIFGFJ<;8D@:LJ9I@<=@EJLGGFIKF=*C8@EK@==ZJ'FK@FE=FI-LDD8IP$L;>D<EK

<//KK8:?D<EK9<:8LJ<K?<I<98K<DF;<C@J8M<?@:C<KF9I@E>KI8EJG8I<E:PKFK?<GIF>I8D@K

N@CC9<E<=@KG8K@<EKJ8E;@K@J:C<8ICPG<ID@KK<;9PK?<GC8@EC8E>L8><JKIL:KLI<8E;GLIGFJ<F=K?<

JK8KLK< 

                                 




                                                       

      Case 1:24-cv-03188-RC         Document 21       Filed 02/10/25     Page 5 of 40




      =FIDF=FI;<I@JGIFM@;<;=FIK?<FLIKZJ:FEJ@;<I8K@FE8JKK8:?D<EK        

      

                                           ,<JG<:K@M<CPJL9D@KK<;
                                           
                                           
                                             J 777777777777777777777777777777777
                                           1@CC@8D -8II8@CC<  8I(F  
                                           -      
                                               ', 
                                           !I<8K 8CCJ0 
                                           .<C<G?FE<  
                                           N@CC@8DJ8II8@CC<@:CFL; :FD
                                           
8K<; <9IL8IP                      !9/-3+58>7</508;#73=/.+7.
                                            .?8-+-B

                                              




                                              

    Case 1:24-cv-03188-RC   Document 21   Filed 02/10/25   Page 6 of 40




                                    
                                    
                                    
                 




                                    

         Case 1:24-cv-03188-RC       Document 21     Filed 02/10/25       Page 7 of 40







                         
                              
                                               
    $)"(-)($)"(-)("&.",               
    -3-.'-#( 
                                                 
    
    5+37=300                                  
                                                
    M
                                                8J<(F   :M  
    ),)."3 #(%@E?<IF==@:@8C:8G8:@KP
    8E;/ - *,.'(.) "&."(
    "/'(-,0#-
    
    8E;
    
    #(-*#()-@E?<IF==@:@8C:8G8:@KP
    8E;"&.",-)/,-(-,0#
    '#(#-.,.#)(
    /0/7.+7=<

                                  
                           
                    :   


                                           1@CC@8D -8II8@CC<  8I(F  
                                           -      
                                             ', 
                                           !I<8K 8CCJ0 
                                           .<C<G?FE<  
                                           N@CC@8DJ8II8@CC<@:CFL; :FD
                                           
                                           !9/-3+58>7</508;#73=/.+7.
                                           .?8-+-B


8K<; <9IL8IP     




                                               

            Case 1:24-cv-03188-RC          Document 21      Filed 02/10/25     Page 8 of 40





                                            

.&) /."),#.#-                                                                          @@
),*),.#-&)-/,-..'(.                                                                M
#(.#.3(#(.,-.) #                                                          
-/'',3) ,!/'(.                                                                           
%!,)/(                                                                                    
          .?<)I@>@EJF=                                                                
          .?< *IF>I8D8E;K?<==FI;89C<8I<:K                                      
          J *IF=@KJLI><FE<;?8I@KP8I<,8K@FJ <CC                               
           !IFNK?I@M<IJ                                                              
          *C8@EK@==ZJ*IFGFJ<;'F;<C                                                       
,!/'(.                                                                                      
      #    ,.')&#-&3('(-.)(&*.#(.-
            .)/(,-.(# ."3,-",#(!#( *,##(!                                 
     ##    *&#(.# Z-')&#-)( #) ,)'*&.&3
            )(-#-.(.1#."."-../.TTTTTTTTTTTTTTT                                        
    ###    ."*&#(&(!/!) ."-../.-*# #&&3/."),#4-
            ,.-(",-#-1#.")/.(3/."),#.3.)*,&/
            ."'                                                                              
          .?<*C8@E&8E>L8><F=K?<-K8KLK<C<8ICP<DFEJKI8K<JK?8K,<98K<JI<
            -G<:@=@:8CCPLK?FI@Q<;N@K?FLK8EPW*I< GGIFM8CX9PK?<-<:I<K8IP              
          .?<-KIL:KLI<F=K?<-K8KLK<#J FID<;9PK?<@JK@E:K@FE9<KN<<EK?<W<@C@E>
            *I@:<X8E;K?<WDFLEK,<HL@I<;KF<*8@;X                                       
          #K1FLC;<I9@KI8IP8E;8GI@:@FLJ=FIK?<-<:I<K8IPKF@JI<>8I;,<98K<J
            :KL8CCP*8@;KFFM<I<;EK@K@<JTTTTTTTTTTTTTTTTTTT                             
)(&/-#)(                                                                                   
,.# #.) )'*&#(                                                                    
,.# #.) -,0#                                                                       
                                                    
                                  




                                                    @

            Case 1:24-cv-03188-RC                Document 21              Filed 02/10/25          Page 9 of 40




                                                  
                                                                                                                    !'%1

    !1%1

36/7/C?>+;=/;6+7
   / -                                                                                                          

8?+;=3<2+;6<8;9?827<87
      K?  @I:                                                                            

!+7803?/7=3<#!?!
    K?;@I:                                                                                               

#73=/.!=+=/<?;+7./;<87
    / -                                                                                                        

2!232%1!,$%'3*!2)-,1

/ -  R I :                                                                                                 

/ -  R9                                                                                                        

 <; ,<> L>                                                                                          

.?<==FI;89C<8I<:K*L9 & (F                                                                                  

3*%1

    <; , GG * 8                                                                                              

2(%0 32(-0)2)%1

 #EJ@;<ICFL;D<;/1+587<3./;+=387<+7.86953+7-/08;                            ;81;+6
   9=363C+=387C8JKM@J@K<; <9                                                                                   

*;MF:8:P '8GC8JKM@J@K<; <9                                                                          

@D<;CC@8E:<W-KL;P @E;J "FJG@K8CJ-@>E@=@:8EKCP'8IBLG#E=LJ@FEIL>JX                                            

#,  E3<</.998;=>73=B=8..;/<<"28</"2+=;//.3-+55B
   #7./;</;?/.   #9.+=/   

#, 2+;3=B+;/+=              8<93=+5<<87+8@7@+;.";/7.):K                                        

 <CCW,<98K<J8KK?<*F@EKF=-8C<X"2/-=>+;B'8P                                                              




                                                              @@

      Case 1:24-cv-03188-RC              Document 21    Filed 02/10/25      Page 10 of 40




C<8EFIC8CF:B,!/+<>;371=2/ /5+=3?/!3C/80=2/    ;81;+6  #9.+=/
   $LE<                                                                                     

I@JKFC'P<IJ-HL@99M  @EB<K8C   :M FDGC8@EK                            

FDDFEN<8CK? LE;W.?<-K8K<F="<8CK?#EJLI8E:<FM<I8><@EK?</ - X C8JK
  M@J@K<; <9                                                                          

, FEK@/=+5"2/ ;>13<-8>7=;81;+6 8<93=+5</7/;+=/;803=<B
   A9+7.371=8 /+-28;/005>/7=866>73=3/<"<8CK?==J                       

;8D$  <@E"2/ ;81;+6536,/.=8 35538737  E%3=28<93=+5<
   ;+,,3718<=80=2/87/BIL>?8EE<CJL>                                         

;8D <@E"2/ ;81;+6 /+-2/. 35538737  E#9 ?<  
   7+5BC371=2/>6,/;<+7. !G<>;38><-=387<IL>?8EE<CJ):K                  

;8D <@E&#!$ 8;  3?/8;;803= /=+35/;<+7.<8637+=/+7
   ?85?371 87=;+-=2+;6+-B+;4/=IL>?8EE<CJ$LCP                              

;8D <@E8<93=+5<;/ /5B3718;/87<=8+7+1/+7>0+-=>;/;<G          
   87=;+-=2+;6+-B /<=;3-=387<IL>?8EE<CJ):K                                 

(@:?FC8J  @J?<I"2/ ;81;+6 /./;+5;81;+67/<9/;+=///.80
    /?3<3870=/;"@8+7.++50/-+./<80#7-/;=+37=B$ "<8CK?8I<& *FCZP
                                                                                      

CC<E!I89<IW"FN8FDG8EP'8B<J'@CC@FEJ)==8"FJG@K8C*IF>I8D'<8EKKF"<CG
    *8K@<EKJX/@'8;4"36/<$8E                                                       

"<8I@E><=FI<K?<-L9:FDD@KK<<FE)M<IJ@>?K8E;#EM<JK@>8K@FEJWO8D@E@E>"FN
   FM<I<;EK@K@<J/K@C@Q<K?< IL>*I@:@E>*IF>I8DX):K                             

" , ,<G (F      GK                                                     

",-         8?/;/.7=3=B>;-2+</<C8JKM@J@K<; <9                         

",-         8?/;/.7=3=B>;-2+</<C8JKM@J@K<; <9                            

%8@J<I 8D@CP FLE;8K@FEW@JKI@9LK@FEF=K?<.FK8C*FGLC8K@FE9P <;<I8C*FM<IKP
   &<M<CXC8JKM@J@K<; <9                                                            

(@:FC<&FE>F ;81;+6 /6+37<!/-87.+;1/<=/./;+5;>1;81;+6'/=3==5/
   !853.?3./7-/80/7/03=<=8+=3/7=<*?,'$LE<                                    






                                                @@@

       Case 1:24-cv-03188-RC            Document 21      Filed 02/10/25     Page 11 of 40




, '8IK@E/=+5#+0#"2/       ;>13<-8>7=;81;+6;/@=8    37    '8P
                                                                                           

, '8IK@E/=+5#+0#;/3<-8>7=<7=2/ ;>13<-8>7=;81;+6/371
   !2+;/.@3=2+=3/7=<+=87=;+-=2+;6+-3/<C8JKM@J@K<; <9                       

, '8IK@E/=+5#+0##737=/7./.87</:>/7-/< 8@=2/008;.+,5/+;/-=
   /59/.;8@=2/ ;81;+6L>                                                     

'@EE<JFK8<G8IKD<EKF="<8CK? FM<I<;EK@KP,<GFIK(FM                         

*@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<C8JKM@J@K<; <9                            

*@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<'8JJ8:?LJ<KKJ C8JKM@J@K<; <9        

*@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<(<N'<O@:F C8JKM@J@K<; <9           

$ ,F9@EJFE/=+5W"FJG@K8C*I@:<J=FI*?PJ@:@8E ;D@E@JK<I<;IL>J=FI*8K@<EKJN@K?
    *I@M8K<#EJLI8E:<X(E>$'<;   $8E                               

- .?FD8J/=+5"<8CK?-KL;@<J,<J<8I:?W.?</E@EK<E;<;FEJ<HL<E:<JF=K?< 
    -8=<KP(<KIL>@J:FLEK*IF>I8DX  '8I                                      

/ - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<JW9FLKK?<==FI;89C<8I<:KX                    

/ - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<J"<8CK?8I< !FMW <;<I8C*FM<IKP
   &@D@KXC8JKM@J@K<; <9                                                             

- 1I@>?KW'<DFI8E;LD,<GFIKFEKI8:K*?8ID8:PII8E><D<EKJ@EK?< 
   *IF>I8DX)#    / - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<J)==@:<
   F=K?<#EJG<:KFI!<E<I8C <9                                                         

                               




                                                  @M

       Case 1:24-cv-03188-RC          Document 21        Filed 02/10/25      Page 12 of 40




                              

          *LIJL8EKKF <;<I8C,LC<F=@M@C*IF:<;LI<  /E@K<;8E;*;MF:8:P

JK8K<K?8KK?<P?8M<EFG8I<EK:FDG8E@<JFIJL9J@;@8I@<J8I<EFKGL9C@:CP?<C;:FIGFI8K@FEJ8E;

K?8KEFG8IKF=K?<@IFNE<IJ?@G@J?<C;9P8EPGL9C@:CP?<C;:FIGFI8K@FE 


          




                                                 M

       Case 1:24-cv-03188-RC              Document 21          Filed 02/10/25        Page 13 of 40





                            

         /E@K<;W /E@K<;X8E;*;MF:8:PJJF:@8K@FE#E: W*;MF:8:PX8I<

EFK =FI GIF=@KG8K@<EK8;MF:8:P>IFLGJ  /E@K<;@J8>I8JJIFFKJ8;MF:8:PFI>8E@Q8K@FEC<;9P

I8I<;@J<8J<G8K@<EKJ8E;:8I<>@M<IJ J8E@E;<G<E;<EKG8K@<EKMF@:<@K@J;<;@:8K<;KF<EJLI@E>

:FEK@EL<; 8==FI;89C< 8::<JJ KF C@=< J8M@E> D<;@:8K@FEJ  .?IFL>? 8;MF:8:P <;L:8K@FE 8E;

:FDDLE@KP<E>8><D<EK@K8DGC@=@<JG8K@<EKMF@:<JKF;I@M<D<8E@E>=LCGFC@:P:?8E><8E;GIFK<:K

K?<I@>?KJF=K?FJ<C@M@E>N@K?I8I<;@J<8J<J8E;:FDGC<OD<;@:8C:FE;@K@FEJ *;MF:8:PZJ

D@JJ@FE@JKFGIFDFK<8E;<E?8E:<K?<#-IL>JJ@JK8E:<*IF>I8DJ*J8E;@DGIFM<

8::<JJ KF :8I< =FI G<IJFEJ C@M@E> N@K? "#0 #-   * ;MF:8:P NFIBJ N@K? 8 I8E>< F=

JK8B<?FC;<IJKF=FJK<I>I<8K<I:FDDLE@KP:FCC89FI8K@FE=FIK?<9<E<=@KF=G8K@<EKJ 

        FK?FI>8E@Q8K@FEJJKIFE>CPJLGGFIKK?< GIF>I8D8J8GFK<EK@8CD<8EJKFD8B<?<8CK?

:8I<=FIK?<G8K@<EKJK?8KK?<PJ<IM<DFI<8==FI;89C< /E;<IK?<GIF>I8D :FM<I<;<EK@K@<J

I<:<@M< 9@CC@FEJ @E JL9J@;@<J K?8K J?FLC; <E89C< K?<D @E KLIE KF JLGGFIK 8 I<8JFE89C< C<M<C F=

:?8I@KP:8I<KFK?<LE@EJLI<;8E;LE;<I@EJLI<;@E:CL;@E>8KK?<G?8ID8:P:FLEK<I /E=FIKLE8K<CP

;<JG@K<K?<<OGCFJ@M<>IFNK?F=K?< GIF>I8DN?@:?EFN><E<I8K<J8GGIFO@D8K<CP9@CC@FE

@EGIF=@KJKF:FM<I<;<EK@K@<J8EEL8CCPD8EP :FM<I<;<EK@K@<JGIFM@;<8E89PJD8CCPCFNC<M<C

F=:?8I@KP:8I<@E:CL;@E>KFG8K@<EKJ@EE<<;8KK?<G?8ID8:P:FLEK<I -8;CPKFFD8EP:FM<I<;

<EK@K@<J G8IK@:LC8ICP   ;@JGIFGFIK@FE8K< J?8I< ?FJG@K8CJ ?8M< 8>>I<JJ@M<CP :FDD@KK<;

K?<DJ<CM<JKF89LJ@E>K?< GIF>I8D9PD8O@D@Q@E>K?<@IGIF=@KJN?@C<I<;L:@E>K?<@I:?8I@KP

:8I< I8K@FJ   D@:@ LI@8< J<IM< K?FJ< G8K@<EKJ ?<8I =IFD K?<D 89FLK K?<@I JKIL>>C<J KF 8::<JJ

                              

 (FG8IKPZJ:FLEJ<C8LK?FI<;K?@J9I@<=@EN?FC<FI@EG8IK8E;EFG8IKP@KJ:FLEJ<CFI8EPFK?<I
G<IJFEVFK?<IK?8ED@:@LI@8<FI@KJ:FLEJ<CV:FEKI@9LK<;DFE<P@EK<E;<;KF=LE;GI<G8I8K@FE
FIJL9D@JJ@FEF=K?@J9I@<= !// <; , GG * 8 *C8@EK@==?8J:FEJ<EK<;KFK?@J9I@<=
8E;K?< <;<I8C<=<E;8EKJK8B<EFGFJ@K@FE 

                                                        

         Case 1:24-cv-03188-RC             Document 21           Filed 02/10/25        Page 14 of 40




:?8I@KP:8I<8KK?<J<:FM<I<;<EK@K@<J8E;KIPKF?<CGK?FJ<G8K@<EKJEFKCFJ<8::<JJKFK?<;IL>

K?<I8G@<JFEN?@:?K?<@I?<8CK?;<G<E;J8J8:FEJ<HL<E:< 

          D@:@LI@8<8I<:FDD@KK<;KF<EJLI@E>K?8KG?8ID8:<LK@:8CG8K@<EKJ@EE<<;@E:CL;@E>

:?IFE@:8E;I8I<;@J<8J<G8K@<EKJI<:<@M<8;@I<:K9<E<=@K=IFDK?<D8JJ@M<JL9J@;@<JGIFM@;<;9P

K?<GIF>I8D8J@EK<E;<;9PFE>I<JJ <JG@K<K?<9@CC@FEJK?8K8I<D8;<8M8@C89C<KF :FM<I<;

<EK@K@<JK?<I<@J;@J8GGF@EK<;CPC@KKC<<M@;<E:<K?8KK?FJ<9@CC@FEJ8:KL8CCP9<E<=@KG?8ID8:<LK@:8C

G8K@<EKJ@EK?<=FIDF=:?8I@KP:8I<@E:CL;@E>8JJ@JK8E:<8KK?<G?8ID8:P:FLEK<I #E;<<;K?<I<@J

JL9JK8EK@8C <M@;<E:< K?8K 9@CC@FEJ @E JL9J@;@<J 8I< ;@M<IK<; KF K?@I; G8IK@<J C@B< C8I>< =FI GIF=@K

I<K8@CG?8ID8:P:?8@EJ8E;W8;D@E@JKI8KFIJXD8EPF=N?FD8I<8==@C@8K<;N@K?D8JJ@M<<EK@K@<J

:8CC<;G?8ID8:P9<E<=@KD8E8><IJK?8K:FEKIFCDL:?F=?<8CK?:8I< 

          D@:@LI@8<NI@K<@EJLGGFIKF=*C8@EK@==$F?EJFE$F?EJFE"<8CK?8I<-PJK<DJ#E: ZJ

W*C8@EK@==XDFK@FE=FIJLDD8IPAL;>D<EK9<:8LJ<K?<P9<C@<M<K?8KK?<I<98K<DF;<C@JK?<FECP

N8PKF:?8E><K?@JLE8::<GK89C<J@KL8K@FE .?< GIF>I8DD@I<;@EFG8HL<E<JJ=FIP<8IJ

DLJK9<D8;<KI8EJG8I<EK .?<I<98K<DF;<CNFLC;;F<O8:KCPK?8K 


                              

    !//(@:FC<&FE>F
                      ;81;+6 /6+37<!/-87.+;1/<=/./;+5;>1;81;+6'/=3==5/
!853.?3./7-/80/7/03=<=8+=3/7=<*?,'$LE<  ?KKGJ G?ID8 FI> CF>  9
GIF>I8D I<D8@EJ J<:FE; C8I><JK =<;<I8C ;IL> GIF>I8D P<K C@KKC< JFC@; <M@;<E:< F= 9<E<=@KJ KF
G8K@<EK 

  FM<I<;<EK@K@<J?8M<W8=@E8E:@8C@E:<EK@M<KF:8K8CF>8JD8EPGI<J:I@GK@FEJ8JGFJJ@9C<8J
<C@>@9C<=FI58 6;@J:FLEKX8?+;=3<2+;6<8;9?827<87  K?   
@I  9<:8LJ<K?<P><E<I8K<WI<M<EL<=IFDJ<IM@E>@EJLI<;G8K@<EKJX9PWKLIE5@E>68GIF=@KX
N?<EWK?<@EJLI8E:<:FDG8E@<JI<@D9LIJ<K?<D8K=LCCGI@:<=FI;IL>JK?8KK?<P9FL>?K8KK?<
 ;@J:FLEKX!+7803?/7=3<#!?! K?;@I   


  ;8D <@E&#!$ 8;  3?/8;;803= /=+35/;<+7.
8637+=/+7?85?371 87=;+-=2+;6+-B+;4/=IL>?8EE<CJ$LCP  
?KKGJ 9@K CP 4"P!;@J:LJJ@E>K?<W;FD@E8K<56XGFJ@K@FEJF=JL:?JGI8NC@E>=FI GIF=@K
G?8ID8:P:?8@EJ8E;*'J8J0-"<8CK?18C>I<<EJ@>E8OGI<JJ-:I@GKJ/E@K<;"<8CK?
!IFLG)GKLD,O8E;18CD8IK 

                                                        

       Case 1:24-cv-03188-RC           Document 21        Filed 02/10/25      Page 15 of 40




       .?<I<98K<DF;<C:8EGIFM@;<K?<GC8K=FIDJ8E;K?<;8K8KFLE;<IJK8E;:C<8ICP8E;N@K?FLK

F9=LJ:8K@FEFID8E@GLC8K@FEN?8KK?<:FEE<:K@FE@JFI@JEZK9<KN<<E8 :FM<I<;<EK@KP8E;

K?<G<IJFEK?8KI<:<@M<JK?<;IL>8E;N?<K?<I9FE8=@;< G8K@<EKJ@EE<<;I<:<@M<8JJ@JK8E:<

8KK?<G?8ID8:P:FLEK<I .FALJK@=PK?<9@CC@FEJ@EJL9J@;@<J><E<I8K<;F==F=K?<;IL>K?<I8G@<JF=

 G8K@<EKJD8EPF=N?FDG8PJL9JK8EK@8CJLDJFLKF=K?<@IFNEGF:B<KJKF?<CG=LE;K?FJ<

D8JJ@M<JL9J@;@<J DLJKFG<I8K<8J8D<8EJKF<E89C<G8K@<EKJ@EE<<;KFJ<:LI<K?<9<E<=@K

F=;IL>;@J:FLEKJ8KK?<G?8ID8:P:FLEK<I 

       #EFGGFJ@E>K?<KI8EJG8I<E:PK?8KK?<GIF>I8D8E;G8K@<EKJJF;<JG<I8K<CPE<<;K?<"<8CK?

-<IM@:<J8E;,<JFLI:<J;D@E@JKI8K@FEW",-XJ8;CP?8JGLKK?<@EK<I<JKJF= <EK@K@<J

K?8K;FEFKJ?8I<K?<@I;@J:FLEKJN@K?K?<@IG8K@<EKJ89FM<K?<E<<;JF=MLCE<I89C<G8K@<EKJ  LIK?<I

",-ZJGFJ@K@FEK?8K@K8E;FECP@K:8EW8GGIFM<X8KI8EJG8I<EKDF;<C=FIK?<FG<I8K@FEF=K?<

 GIF>I8D@J:FDGC<K<CP@E:FEJ@JK<EKN@K?K?<K<OKJKIL:KLI<8E;GLIGFJ<F=K?<JK8KLK< ",-

@JJ<<B@E>8ELENFIK?P<E;K?IFL>?LEC8N=LCD<8EJ 

       D@:@LI@8<N@K?K?<@IG8K@<EK8;MF:8:P=F:LJ8E;D@JJ@FEJ<<BKF8JJ@JKK?<FLIK9P

GIFM@;@E>8;;@K@FE8C@E=FID8K@FEFEK?< JK8KLK<@KJ?@JKFIP8E;?FNK?< GIF>I8D@J


                                  

   M<E JFD<   8;MF:8K<J 8:BEFNC<;>< <O:<JJ<J @E K?< D8EE<I K?8K JFD< :FM<I<; <EK@K@<J
W:C8@DX8G8K@<EK=FIGLIGFJ<JF= GLI:?8J<JV8E;K?<GIF=@KJK?8K:8E9<><E<I8K<;9P;F@E>
JF  !//   #EJ@;<I CFL;D<; /1+5 87<3./;+=387< +7. 86953+7-/ 08;  ;81;+6
9=363C+=387 ?KKGJ NNN :CFL;D<; :FD I<JFLI:<  9 @EJ@;<I ;<:<D9<I    M8I@FLJ
:FM<I<;<EK@K@<JK8B<K?<<OKI<D<GFJ@K@FEK?8KW<M<IP9F;PN<?8M<<M<IKI<8K<;8K8EPGF@EK@JFLI
G8K@<EKXC8JKM@J@K<; <9   


  D@:@LI@8<=<<C:FDG<CC<;8JG8K@<EK8;MF:8K<JKF:FDD<EKFE",-ZJK?I<8KKFI<DFM<
*C8@EK@===IFDK?< GIF>I8D .?@JNFLC;<==<:K@M<CP:LKF==;IL>K?<I8GP:FM<I8><=FI
?LE;I<;JF=K?FLJ8E;JF='<;@:8I<8E;'<;@:8@;G8K@<EKJ;<G<E;<EK=FIK?<@I?<8CK?8E;N<CC
9<@E>FE8EPF=*C8@EK@==ZJD8EPD<;@:8K@FEJ .?FL>?D@:@LI@8<K8B<EFGC<8JLI<@EJ8P@E>
K?@JK?8KK?I<8KN@K?@KJ;@JKLI9@E>@DGC@:8K@FEJ=FIMLCE<I89C<G8K@<EKJN@K?I8I<8E;:?IFE@:
;@J<8J<JN8J8I<:BC<JJCP8EK@ G8K@<EK8:K D@:@LI@8<8I<;<<GCP:FE:<IE<;89FLKK?@JK?I<8K
N?@:?@JJFF9M@FLJCP;<KI@D<EK8CKFK?<@EK<I<JKJF=G8K@<EKJ 

                                                  

       Case 1:24-cv-03188-RC            Document 21          Filed 02/10/25       Page 16 of 40




=8@C@E> G8K@<EKJ   #E ;<98K@E> K?<   GIF>I8D ",- 8E; FK?<IJ F=K<E =8@C KF :FEJ@;<I K?<

G<IJG<:K@M< 8E; E<<;J F= K?< G8K@<EK   1< LI>< K?@J FLIK @E 8;;I<JJ@E> K?< @DGFIK8EK @JJL<

GI<J<EK<;?<I<KF:FEJ@;<IK?8KG<IJG<:K@M<8E;K?FJ<E<<;J D@:@JL9D@KK?@J9I@<=@EJLGGFIKF=

*C8@EK@==9<:8LJ<K?<I<98K<DF;<C@J8M<?@:C<KF9I@E>KI8EJG8I<E:PKFK?<GIF>I8D8E;@J:C<8ICP

G<ID@KK<;9PK?<GC8@EC8E>L8><JKIL:KLI<8E;GLIGFJ<F=K?<JK8KLK< 

                                      

        <J@>E<;KF?<CGK?<LE@EJLI<;8E;K?<LE;<I@EJLI<;9P=F:LJ@E>FEGIFM@;<IJ;<MFK<;KF

K?<@IW;@I<:K:8I<X K?< GIF>I8DEFNDFI<K?8EK?@IKPP<8IJ@E?8JLKK<ICPCFJK@KJN8P M<E

8JK?< GIF>I8D;I8D8K@:8CCP<OG8E;<;@EG8IK@:LC8IFM<IK?<:FLIJ<F=K?<C8JK=@=K<<EP<8IJ

8CCKFFD8EP:FM<I<;<EK@K@<J?8M<:LKK?<@I:?8I@KP:8I<I8K@FJ8;M<IJ<CP8==<:K@E>K?<M<IPG8K@<EKJ

N?F8I<JKIL>>C@E>KF8==FI;K?<@ID<;@:8K@FEJ8KK?<G?8ID8:P:FLEK<I <JG@K<K?<=8:KK?8K@K@J

K?<@IGI<J:I@GK@FEJK?8K><E<I8K<:FCC<:K@M<CP9@CC@FEJ@EJL9J@;@<JKF:FM<I<;<EK@K@<JG8K@<EKJ8I<

C<=KKFG8PFLK F= GF:B<K8DFLEKJ=FIK?<@I;IL>JK?8KK?<P:8EEFK8==FI; CCKFFF=K<EG8K@<EKJN?F

HL8C@=P=FI:?8I@KP:8I<8I<EFKF==<I<;K?8K8JJ@JK8E:< .PG@:8CCPG8K@<EKJF=:FM<I<;<EK@K@<JG8P@E>

FLK F= GF:B<K=FIK?<D<;@:8K@FEJFEN?@:?K?<@I?<8CK?;<G<E;J8I<EFK<M<EKFC;K?8KK?<P8I<EFK

J?8I@E>V8K8CCV@EK?<JK<<GCPI<;L:<;GI@:<JK?8KK?<@IGIFM@;<IJI<:<@M< 

        D@:@LI@8<LI><K?@JFLIKKF>I8EK*C8@EK@==ZJ'FK@FE=FI-LDD8IP$L;>D<EK=FIK?<

=FCCFN@E>I<8JFEJ 3;<=G8K@<EKJ8I<@E;<JG<I8K<E<<;=FIK?<KI8EJG8I<E:PK?8KFECPK?<I<98K<

DF;<C:8EGIFM@;<@EKFN?8KKFK?@JGF@EK?8J9<<E8?FG<C<JJCPFG8HL<GIF>I8D .?@JFLIK

J?FLC; >I8EK *C8@EK@==ZJ DFK@FE 9<:8LJ< I<98K< DF;<CJ :8E 9<E<=@K 8CC JK8B<?FC;<IJ @E:CL;@E>

                             
!//"FLJ<,<GFIK  *K 8K           <//+5<8    -K8K 8K:F;@=@<;8K
/ -  R I :  

  !//(@:?FC8J  @J?<I"2/ ;81;+6 /./;+5;81;+637/<9/;+=///.80 /?3<387
0=/;"@8+7.++50/-+./<80#7-/;=+37=B$ "<8CK?8I<& *FCZP   

                                                    

         Case 1:24-cv-03188-RC            Document 21          Filed 02/10/25        Page 17 of 40




G8K@<EKJ9PGIFM@;@E><8:?JK8B<?FC;<I>IFLGN@K?K?<@E=FID8K@FEE<:<JJ8IPKF<EJLI<K?8KK?<

GIF>I8D @J 9<@E> FG<I8K<; @E 8 =8J?@FE K?8K J<IM<J <8:? JK8B<?FC;<IJZ C<>@K@D8K< @EK<I<JKJ   FI

G8K@<EKJI<98K<DF;<CJF==<I8D<8EJ=@E8CCPKFLE;<IJK8E;N?<E :FE:<JJ@FEJ8I<9<@E>

J?8I<;N@K?K?<D8E;N?<E<M<EK?FL>?@K@JK?<@IK?<I8GPK?8K@J><E<I8K@E>GIF=@KJ=FIK?<:FM<I<;

<EK@KPK?<G8K@<EK@JI<:<@M@E>EF9<E<=@K8KK?<G?8ID8:P:FLEK<I 

          !/-87. K?< 8?+;=3<    K? 8K   9FE8 =@;< F==<I K<JK @J :C<8ICP J8K@J=@<; ?<I< 

*C8@EK@==ZJGIFGFJ<;I<98K<DF;<CC@D@K<;KF;@JGIFGFIK@FE8K<J?8I<?FJG@K8CJFECP@EMFCM@E>KNF

;IL>J 8E; I<HL@I@E> G8PD<EK 9<KN<<E WJ<M<E 8E; K<E ;8PJX =8JK<I K?8E EFID8CCP I<HL@I<; =FI

FK?<II<98K<:LJKFD<IJ8E;=8JK<I<M<EK?8EK?<<OG<;@K<;G8PD<EKN@E;FNK?8KK?<-<:I<K8IP?8J

<JK89C@J?<;LE;<IK?<#E=C8K@FE,<;L:K@FE:K<//370;+8K @J=8I=IFDK?<WFE<IFLJX:FE;@K@FEJ

E<:<JJ8IPKF<JK89C@J?K?8K8EF==<I@JEFK9FE8=@;< 

          "23;.K?<K<OKJKIL:KLI<8E;GLIGFJ<F=K?< JK8KLK<;<DFEJKI8K<JK?8KI<98K<J 8I<

JG<:@=@:8CCP 8LK?FI@Q<; 8J 8 D<8EJ KF <==<:KL8K< K?<   GI@:< 8E; ",- ?8J 89JFCLK<CP EF

8LK?FI@KPKFGI<M<EKK?<LJ<F=K?FJ<I<98K<JVFIK?<KI8EJG8I<E:PK?<PNFLC;9I@E>KFK?<GIF>I8D 

",-ZJ :FEK<EK@FE K?8K @K ?8J 8 WGI< 8GGIFM8CX GFN<I @J 8K<OKL8C 8E; 8?@JKFI@: 8I9@KI8IP 8E;

:8GI@:@FLJ8E;C<8;J@E<M@K89CPKF89JLI;I<JLCKJ 

                                                   

               (%0)'),1-&  

          .?<   GIF>I8D N8J :I<8K<; 9P FE>I<JJ @E  KF 8;;I<JJ 8E WLE@EK<E;<;
                                                                                                              
:FEJ<HL<E:<X I<JLCK@E> =IFD K?< <E8:KD<EK F= K?< '<;@:8@; IL> ,<98K< *IF>I8D @E                     

*I<M@FLJCP D8EL=8:KLI<IJ GIFM@;<; JL9JK8EK@8C GI@:< :FE:<JJ@FEJ MFCLEK8I@CP K?8K ;@I<:KCP



                                   

                   

                                                      

          Case 1:24-cv-03188-RC           Document 21         Filed 02/10/25        Page 18 of 40




9<E<=@K<; G8K@<EKJ 8K K?< G?8ID8:P :FLEK<I  LK 9<:8LJ< FE>I<JJ ;@; EFK 8EK@:@G8K< K?8K K?<

:I<8K@FE F= K?< '<;@:8@; GIF>I8D NFLC; :FDG<C D8EL=8:KLI<IJ KF 898E;FE K?FJ< MFCLEK8IP

:FE:<JJ@FEJFE>I<JJ@E8;M<IK<EKCP=FI:<;K?<GI@:<JF=;IL>JKFMLCE<I89C<G8K@<EKJKF9<I8@J<;

GI<:@G@KFLJCP?@>?<IN?@:?8;M<IJ<CP8==<:K<;G8K@<EKJ8KK?<G?8ID8:P:FLEK<I 

          -FD< 8;MF:8K<J:C8@DI8K?<I:PE@:8CCPK?8KFE>I<JJ@E:FII<:K@E>K?@J'<;@:8@;

@JJL< FECP @EK<E;<; K?< GIF>I8D KF 9<E<=@K :FM<I<; <EK@K@<J   .?8K @J LEKIL<  .?< CFJJ F= K?<

MFCLEK8IP ;@J:FLEKJ HL@K< :C<8ICP 8E; ;@I<:KCP 8==<:K<; LE@EJLI<; 8E; LE;<I@EJLI<; G8K@<EKJ

;<G<E;<EKFE;IL>K?<I8G@<JN?FN<I<=FI:<;KFG8PDFI<FLKF=K?<@IGF:B<KJ8J8:FEJ<HL<E:< 

.?<:FEK<EK@FEK?8KK?<;<M<CFGD<EKF=K?< GIF>I8DN8JFECP89FLKK?<:FM<I<;<EK@K@<J8E;

EFK89FLKK?<GI@:<JMLCE<I89C<G8K@<EKJN<I<I<HL@I<;KFG8PFLKF=GF:B<K@JD8E@=<JKCPNIFE>V

8E;8G<IM<IJ@FEF=K?<GIF>I8D8E;@KJFI@>@EJ 

          1?<E FE>I<JJ <E8:K<; K?<   GIF>I8D @K I<=<I<E:<; =<;<I8CCP =LE;<; :C@E@:J 8E;

GL9C@: ?FJG@K8CJ GI<:@J<CP 9<:8LJ< K?<P W</;?/ C8I>< ELD9<IJ F= 58@37-86/ +7. >737<>;/.

9+=3/7=< X-@D@C8ICPFE>I<JJJGFB<<OGC@:@KCPKFK?<=8:KK?8K@EG<ID@KK@E>:FM<I<;<EK@K@<JKF

8::<JJ;@J:FLEKJ@KN8JDFK@M8K<;KF;FJF9<:8LJ<K?FJ<<EK@K@<JWGIFM@;<.3;/-=-5373-+5-+;/KF

C8I><ELD9<IJF=>737<>;/.D<I@:8EJ X#E;<<;K?<J@E>C<C@E<=IFDK?<C<>@JC8K@M<?@JKFIPK?8K

 8;MF:8K<J:@K<8JI<=C<:K@E>FE>I<JJZFI@>@E8C@EK<EKJ8PJK?<J8D<K?@E>N?<E=LCCPHLFK<; 

.?FL>? FE>I<JJ I<=<I<E:<; WJKI<K:?@E> T I<JFLI:<JX @K ;@; JF JG<:@=@:8CCP @E 8 :FEK<OK K?8K




                                 
11   See id. at 29.

     "FLJ<,<GFIK8K   U  <DG?8J@J8;;<; 

     !//"FLJ<,<GFIK8K <DG?8J@J8;;<; 

                                                      

          Case 1:24-cv-03188-RC            Document 21         Filed 02/10/25        Page 19 of 40




JKI<JJ<;K?<LE;<ICP@E>GLIGFJ<F=W9<KK<I</;?(371)>7./;37<>;/.+7.>7./;37<>;/.9+=3/7=<X 

.?FJ<MLCE<I89C<G8K@<EKJ8I<DFJK;@I<:KCP@DG8:K<;8KK?<G?8ID8:P:FLEK<I8E;K?8KJG<:@=@:

:FEK<OKN8JK?<FE<DFJK;@I<:KCP8==<:K<;9PK?<'<;@:8@;I<98K<GIF>I8DZJLE@EK<E;<;<==<:KF=

;<:I<8J@E>CPK?<:FJKF=G?8ID8:<LK@:8CJLJ<;9PMLCE<I89C<G8K@<EKJ 

          #E FK?<I NFI;J FE>I<JJ ;@; EFK J<< 8 ;@JK@E:K@FE 9<KN<<E K?<:FM<I<; <EK@K@<J 8E; K?<

E<<;PG8K@<EKJK?<PN<I<<OG<:K<;KFJ<IM<FE<K?<<EK@K@<JN<I<I<=<II<;KF9<:8LJ<K?<E<<;J

F=K?<FK?<IK?<G8K@<EKN<I<<D9<;;<;@EK?<=@IJKK?<PN<I<M@<N<;8JKNFJ@;<JF=K?<J8D<

:F@E 

             (%  0-'0!+!,$2(% &&-0$!"*% !0% #2

        #E   N?<EK?<==FI;89C<8I<:KYK?<XN8J<E8:K<;FE>I<JJ8CJF

<OG8E;<;K?< GIF>I8D .?FJ<KNFJK<GJN<I<D<8EKKFNFIB?8E;@E>CFM<KF9I@E>

8==FI;89C<?<8CK?:8I<KFG8K@<EKJ@EE<<;@E:CL;@E>G8K@<EKJ;<G<E;<EKFE;IL>K?<I8G@<JN?F

E<<;8JJ@JK8E:<8KK?<G?8ID8:P:FLEK<I  KK?8KK@D< :FM<I<;<EK@K@<JD8;<C<JJK?8E

9@CC@FE@EGLI:?8J<JLE;<IK?<GIF>I8D  

                              

 !//"<8I@E><=FI<K?<-L9:FDD@KK<<FE)M<IJ@>?K8E;#EM<JK@>8K@FEJWO8D@E@E>"FN
FM<I<;EK@K@<J/K@C@Q<K?< IL>*I@:@E>*IF>I8DX):K   <DG?8J@J8;;<; 

     *L9C@:&8N             


  / - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<JW9FLKK?<==FI;89C<8I<:KX
?KKGJ NNN ??J >FM ?<8CK?:8I< 89FLK K?< 8:8 @E;<O ?KDC;<J@>E<;KFW5D68B<8==FI;89C<
?<8CK?@EJLI8E:<8M8@C89C<KFDFI<G<FGC<X

  - .?FD8J/=+5"<8CK?-<IM@:<J,<J<8I:?W.?</E@EK<E;<;FEJ<HL<E:<JF=K?< 
-8=<KP(<KIL>@J:FLEK*IF>I8DX  '8I    
?KKGJ GD: E:9@ ECD E@? >FM 8IK@:C<J *'   K?<W IL>*I@:@E>*IF>I8DN8J
:I<8K<;X8DFE>FK?<IGLIGFJ<JWKF@E:I<8J<8::<JJKFFLKG8K@<EKD<;@:8K@FEJ=FICFN\@E:FD<
8E;LE@EJLI<;G8K@<EKJ 

  - 1I@>?KW'<DFI8E;LD,<GFIKFEKI8:K*?8ID8:PII8E><D<EKJ@EK?< *IF>I8DX
)#    / - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<J)==@:<F=K?<#EJG<:KFI

                                                       

       Case 1:24-cv-03188-RC           Document 21         Filed 02/10/25       Page 20 of 40




     .?<E8JEFN8JD8CC=I8:K@FEF=K?<:FM<I<;<EK@K@<J ;@JGIFGFIK@FE8K<?FJG@K8CJ

N<I<K?<I<:@G@<EKJF=8CDFJK F=K?<JL9J@;@<J><E<I8K<;9PK?<GIF>I8D  <JG@K<K?<@I

F=K<ED8JJ@M<J@Q<I<JFLI:<J8E; JL9J@;@<JDFJK;@JGIFGFIK@FE8K<J?8I<?FJG@K8CJ?8;

:?8I@KP:8I<I8K<JK?8K=8@C<;KF<M<ED<<KK?<E8K@FE8C8M<I8>< .?<G@:KLI<N8JEFK8EP9<KK<I

=FI8CC ?FJG@K8CKPG<JN?FJ<:?8I@KP:8I<I8K@FJN8J8;@J8GGF@EK@E>CPCFN   

         FI K?FJ< N?F 8;MF:8K<; =FI K?<  @E:CL;@E> G8K@<EK 8;MF:8K<J K?< ?FG< 8E;

<OG<:K8K@FE N8J K?8K N@K? K?< <OG8EJ@FE F= K?< GIF>I8D :FM<I<; <EK@K@<J G8IK@:LC8ICP  

?FJG@K8CJNFLC;J@>E@=@:8EKCP<OG8E;K?<@I:FDD@KD<EKKFG8K@<EKJ@EE<<;@E:CL;@E>K?FJ<8KK?<

G?8ID8:P:FLEK<I .?8KN8J8:<EKI8CG8IKF=FE>I<JJZGC8EKF9I@E>DFI<8==FI;89C<?<8CK?:8I<

KFK?<LE@EJLI<;8E;K?<LE;<I@EJLI<; 

          1  0-&)21 30'%-,%$ (!0)26 !0%!2)-1!**

         8JK=FIN8I;KFEFN=@=K<<EP<8IJ8=K<IK?<N8J<E8:K<;8E;K?<@EK<IM<E@E>P<8IJ

K<CC8M<IPJ8;K8C<F=8GIF>I8DK?8K?8J<OGCF;<;N@K?FLK8EP;<DFEJKI8K@FEF=8EP:FII<JGFE;@E>

9<E<=@K@EK?<C<M<CF=:?8I@KP:8I<K?<LE@EJLI<;8E;LE;<I@EJLI<;I<:<@M< 

        .?<I<:8E9<EFC<>@K@D8K<;@JGLK<K?8KK?< GIF>I8DZJ>IFNK??8J9<<E;I8D8K@: P

",-ZJFNE:8C:LC8K@FEK?<GIF>I8DEFN@EMFCM<J9@CC@FE@E?<8M@CP;@J:FLEK<;GLI:?8J<J

                             
!<E<I8C <9  =@E;@E>89@KDFI<K?8E9@CC@FE@E J8C<J@E       8=K<IK?<
GIF>I8D?8;9<>LEKF<OG8E;=FCCFN@E>K?<G8JJ8><F=K?< 

  !//;8D$  <@E"2/ ;81;+6536,/.=8 35538737  F%3=28<93=+5<
;+,,3718<=80=2/87/BIL>?8EE<CJL>   
?KKGJ NNN ;IL>:?8EE<CJ E<K    K?<  9 GIF>I8D :C@D9<; KF  9@CC@FE ?KDC 

   #, 2+;3=B+;/+= 8<93=+5<3<87+8@7@+;.";/7.):K  
?KKGJ 9@K CP <@:1<G 


   *@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<8M8@C89C<8K
?KKGJ G@FE<<I@EJK@KLK< FI>  989LJ< ?FJG@K8C :?8I@KP :8I< C8JKM@J@K<; <9          
=@>LI<J 

                                                   

       Case 1:24-cv-03188-RC             Document 21          Filed 02/10/25       Page 21 of 40




FE8E8EEL8C98J@J .?8K@J8KC<8JK      K@D<JK?<J@Q<F=K?<<JK@D8K<GIF>I8D@E            .?FJ<

?<8M@CP ;@J:FLEK<; ;IL>J EFN ?8M< 8 C@JK GI@:< M8CL< F=   9@CC@FE  8 =@>LI< K?8K C@B<CP

LE;<IJK8K<JHL@K<J@>E@=@:8EKCPK?<KIL<I<@D9LIJ<D<EKM8CL<F=K?<;IL>J #EFK?<INFI;JK?<

 GIF>I8DGIFM@;<JEFNFEK?<FI;<IF=9@CC@FEFIDFI<@EP<8ICPJL9J@;@<J 

        IL<CCP<M<E8JMLCE<I89C<G8K@<EKJZE<<;=FI;IL>K?<I8G@<JG<ID@KK<;:FM<I<;<EK@K@<J

G8IK@:LC8ICP ?FJG@K8CJKF@E:I<8J<K?<@I GIF=@KJ9P9@CC@FEJ8E;9@CC@FEJF=;FCC8IJK?FJ<

  ?FJG@K8CJ EFK FECP =8@C<; KF @E:I<8J< K?<@I G<I:<EK8>< :FDD@KD<EKJ KF :?8I@KP :8I< K?<P

;I8D8K@:8CCP ./-;/+</. K?<@I :?8I@KP :8I< I8K@FJ   M<E 8J K?<   GIF>I8D <OG8E;<; 8E;

<OG8E;<;8E;<OG8E;<;GIFM@;@E>9@CC@FEJDFI<@EJL9J@;@<J ?FJG@K8CJZ:?8I@KP:8I<I8K@FJ


                                

   ;8D <@E"2/ ;81;+6 /+-2/. 35538737  F#9 ?<  7+5BC371
=2/>6,/;<+7. !G<>;38><-=387<IL>?8EE<CJ):K  
?KKGJ 9@K CP =?EN* 


   , '8IK@E<K8C #+0#"2/ ;>13<-8>7=;81;+6;/@=8 37  '8P 
 8M8@C89C<8K?KKGJ NNN @HM@8 :FD CF:8K@FEJ LE@K<; JK8K<J C@9I8IP N?@K< G8G<IJ K?<  9
;IL> ;@J:FLEK GIF>I8D >I<N KF  9 @E  C8JKM@J@K<; <9   


  .?8K@JK?<:8J<@EEFJD8CCD<8JLI<9<:8LJ< ?FJG@K8CJD8IBLGK?<@I;IL>J<EFIDFLJCP
@EJ<CC@E>KF:FDD<I:@8C<DGCFP<I8E;'<;@:8I<G8PFIJ !//@D<;CC@8E:<W-KL;P @E;J
 "FJG@K8CJ-@>E@=@:8EKCP'8IBLG#E=LJ@FEIL>JX8M8@C89C<
8K?KKGJ 8@D<;8CC@8E:< FI> JKL;P =@E;J  9 ?FJG@K8CJ J@>E@=@:8EKCP D8IBLG @E=LJ@FE
;IL>J C8JKM@J@K<; <9  W-G<:@=@:8CCPD8IBLGJ=FIJFD<:FDDFECP8;D@E@JK<I<;
@E=LJ@FE;IL>JN<I< ?@>?<I8K ?FJG@K8CJK?8E8K@E;<G<E;<EK;F:KFIGI8:K@:<J8E; 
K@D<J?@>?<IK?8E8KEFE  ?FJG@K8CJ X<//+5<8$ ,F9@EJFE/=+5W"FJG@K8C*I@:<J=FI
*?PJ@:@8E ;D@E@JK<I<;IL>J=FI*8K@<EKJN@K?*I@M8K<#EJLI8E:<X(E>C$
'<;   )#            ($'J8  $8EL8IP :@K<;@EK?<@D<;
CC@8E:<8IK@:C< 

  869+;/3.C@JKM8CL<F= GLI:?8J<J<HL8C@E> 9@CC@FE@3=2",-   
8?/;/.7=3=B>;-2+</<9@CC@FE@E8:HL@J@K@FE:FJKJ@E :I<8K@E>8WJGI<8;X<JK@D8K<
F=9@CC@FE8M8@C89C<8K?KKGJ NNN ?IJ8 >FM FG8 LG;8K<J    9 :FM<I<; <EK@KP
GLI:?8J<JC8JKM@J@K<; <9  <//+5<8C<8EFIC8CF:B,!/+<>;371=2/ /5+=3?/
!3C/80=2/ ;81;+6  #9.+=/8K$LE< ?KKGJ D<;@8 K?@EB9I> :FD NG
:FEK<EK LGCF8;J      ,!   '<8JLI@E> ,<C8K@M< -@Q<   G;= 8E8CPQ@E>
K?<;<CK8@EC@JKKF8:HL@J@K@FEGI@:<=FI   

                                                     

       Case 1:24-cv-03188-RC            Document 21         Filed 02/10/25       Page 22 of 40




GCLDD<K<; P K?<C8JKP<8I=FIN?@:?K?FJ<:?8I@KP:8I<;8K88I<8M8@C89C< ?FJG@K8C

:?8I@KP:8I<?8;=8CC<E=IFD  @E        KF  .?8K@J8CDFJK8 ;IFG<M<E8J 

GIF>I8D GLI:?8J<J @E:I<8J<; 9P           .?FJ< @E:I<8J<; GLI:?8J<J 9IFL>?K D8JJ@M< E<N

FGGFIKLE@K@<JKFGIF=@KFEK?<WJGI<8;X9<KN<<EK?<CFN8:HL@J@K@FEGI@:<J8E;K?<I<@D9LIJ<D<EK

M8CL<F=K?FJ<;IL>J9LKN@K?EF:FII<JGFE;@E>@E:I<8J<@E:?8I@KP:8I<@E:CL;@E>8KK?<G?8ID8:P

:FLEK<I 

        )E<F=K?<D@:@LI@8<?<I<*;MF:8:P?8JGIF;L:<;8W '8GXK?8K;I@CCJ

;FNEFEK?@J;@JKLI9@E>GIF9C<D  .?<D8GJ?FNJ=FI8N@;<:IFJJ J<:K@FEF=:FM<I<;<EK@K@<J

@E:CL;@E>8ELD9<IF= ?FJG@K8CJ>IFNK?@E I<M<EL<J8E;@ED8EP:8J<J8J@DLCK8E<FLJ

=8CC @E :?8I@KP :8I< I8K@FJ  $F?EJ "FGB@EJ /E@M<IJ@KP "FJG@K8C =FI <O8DGC< ?8J J<<E 8 

@E:I<8J<@E@KJ I<M<EL<JK8B@E>@KJKFK8CI<M<EL<JFM<I89@CC@FE;FCC8IJN?@C<@KJ:?8I@KP:8I<

I8K@F?8J=8CC<E9P @EK?<J8D<G<I@F; -LKK<I08CC<P"FJG@K8CJFE<F=K?<C8I><JK?FJG@K8C

JPJK<DJ@EK?<:FLEKIP?8JJ<<E8@E:I<8J<@E I<M<EL<JG8IKF=@KJKFK8CI<M<EL<JK?8K

EFN<O:<<; 9@CC@FE8EEL8CCPN?@C<@KJ:?8I@KP:8I<I8K@F?8J=8CC<E9P -LKK<IZJ:?@<=

<O<:LK@M<F==@:<I:FDG<EJ8K@FE?8J@E:I<8J<;   

        .?< /@ '8;4 "36/< I<:<EKCP I<GFIK<; FE 8 G8K@<EK <O8DGC< K?8K I8K?<I J?F:B@E>CP

@CCLJKI8K<JK?<GIF9C<D  0@I>@E@8%@E>8D<K8JK8K@:9I<8JK:8E:<IG8K@<EKJFL>?K;IL>K?<I8GP


                               

  '8EP?FJG@K8CJ?8M<:?8I@KP:8I<I8K@FJN8P9<CFN<M<EK?<J<CFN8M<I8><J?FN<M<I /'8JJ
'<;@:8C<EK<I=FI@EJK8E:<8::FI;@E>KF*@FE<<I#EJK@KLK<?8;8:?8I@KP:8I<I8K@FF=ALJK 
@E  !//*@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<'8JJ8:?LJ<KKJ 8M8@C89C<8K
?KKGJ G@FE<<I@EJK@KLK< FI>  989LJ< ?FJG@K8C :?8I@KP :8I< C8JKM@J@K<; <9   

  *;MF:8:P '8G8M8@C89C<8K?KKGJ  9D8G FI> D8GJK<I NG D8G  9 D8G 
C8JKM@J@K<; <9   

 CC<E!I89<IW"FN8FDG8EP'8B<J'@CC@FEJ)==8"FJG@K8C*IF>I8D'<8EKKF"<CG


*8K@<EKJX/@'8;4"36/<$8E    

                                                      

              Case 1:24-cv-03188-RC        Document 21         Filed 02/10/25      Page 23 of 40




=IFD?I@JKLJ-K 0@E:<EK8 ?FJG@K8C .?<D8EL=8:KLI<IC@JKGI@:<=FIK?<;IL>9<=FI<K?<
                                                
 ;@J:FLEKKFK?<?FJG@K8CN8J             .?<?FJG@K8C9@CC<;'IJ %@E>ZJ@EJLI<I  

K@D<J K?< C@JK GI@:< F= K?< ;IL> <M<E N@K?FLK :FEJ@;<I@E> K?<  ;@J:FLEK   CK?FL>? 'IJ 

%@E>ZJ@EJLI<IG8@;            FEK?<:C8@D8CDFJKK@D<JK?<C@JKGI@:<F=K?<;IL>?I@JKLJ-K 

0@E:<EK9@CC<;?<I@E8;;@K@FE=FI       @KJ<C=8CDFJKK?<<EK@I<C@JKGI@:<F=K?<;IL> #K;@;JF

N@K?FLKF==<I@E>?<I8EP:?8I@KP:8I< .F8;;@EJLCKKF@EALIP?I@JKLJ-K 0@E:<EKJL9J<HL<EKCP

J<EK?<IKF:FCC<:K@FEJ 1?<E'IJ %@E>JN@K:?<;KF8EFE  GIFM@;<IN@K?78 JL9J@;@<J

?<IG8K@<EKWI<JGFEJ@9@C@KPN8JEFK?@E>X ?I@JKLJ-K 0@E:<EK;<=<E;<;@KJ<C=9P:C8@D@E>@EG8IK

K?8KK?< GIF>I8DW?<CG<;K?<?FJG@K8CGIFM@;<:?8I@KP:8I<X9LK8I<M@<NF=@KJ:?8I@KP:8I<

I<M<8CJK?8K@KJI8K@FN8JALJK 9<CFN<M<EK?<<D98II8JJ@E>CPCFNE8K@FE8C8M<I8>< 

              .?<?@JKFIPF=K?< GIF>I8D@JLE=FIKLE8K<CP8JKFIPF=8N<CC @EK<EK@FE<;GIF>I8D

K?8K?8JCFJK@KJN8P C<8ICP;<J@>E<;KF9I@E>8==FI;89C<?<8CK?:8I<KFG8K@<EKJ@EE<<;@E:CL;@E>

9PM@IKL<F=@KJ<OG8EJ@FE8KK?<K@D<F=K?<<E8:KD<EKF=K?<K?< GIF>I8D?8J>IFNE

8K 8 9I<8B E<:B G8:< N@K?FLK 8EP :FII<JGFE;@E> 9<E<=@K KF G8K@<EKJ @E :?8I@KP :8I< @E:CL;@E>

8JJ@JK8E:<8KK?<G?8ID8:P:FLEK<I 

                  0-52( 0)4%01

              1?8K;IFM<K?<;I8D8K@:<OG8EJ@FEF=K?<GIF>I8DFEKI8:KG?8ID8:@<JN<I<:<IK8@ECP8

J@>E@=@:8EKG8IKF=K?8KJKFIP  :FEKI8:KG?8ID8:PI<C8K@FEJ?@GJ?8M<@E:I<8J<;<OGFE<EK@8CCP



                                    

     . 

     !//3.

     .


  *@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<(<N'<O@:F 8M8@C89C<8K
?KKGJ G@FE<<I@EJK@KLK< FI>  989LJ< ?FJG@K8C :?8I@KP :8I< C8JKM@J@K<; <9   

                                                         

       Case 1:24-cv-03188-RC            Document 21          Filed 02/10/25       Page 24 of 40




=IFDIFL>?CP      @E    KFDFI<K?8E      8E@E:I<8J<F=     @J8GGF@EK<;CPD8EP

F= K?FJ< :FEKI8:K G?8ID8:@<J 8I< CF:8K<; @E 8==CL<EK E<@>?9FI?FF;J  )= K?< DFI< K?8E    

  :FEKI8:K G?8ID8:P I<C8K@FEJ?@GJ LJ<; 9P :FM<I<; <EK@K@<J FECP  8I< CF:8K<; N@K?@E 8

D<;@:8CCPLE;<IJ<IM<;CF:8K@FE .?<8CCKFF:C<8ID<JJ8><@JK?8KKFFD8EP :FM<I<;<EK@K@<J

:8I<DL:?DFI<89FLK:I<8K@E>E<NFGGFIKLE@K@<JKFD8B<DFI<DFE<P=IFDK?<GIF>I8DK?8EKF

8;;I<JJ8::<JJ@JJL<J=FIK?<E<<;PN?FJFF=K<EC@M<@EG?8ID8:P;<JJ<IKJ 

        1FIJ<P<K:FEKI8:KG?8ID8:P8II8E><D<EKJ;F8M<IPGFFIAF9F=GIFM@;@E>E<<;PG8K@<EKJ

D<8E@E>=LC8::<JJKF8==FI;89C<;IL>JLE;<IJ:FI@E>N?PK?<D@:@LI@8<8I<JF:FE:<IE<;K?8K

G8K@<EKJ8I<EFKJ?8I@E>8;<HL8K<CP@EK?<;I8D8K@:8CCPI<;L:<;GI@:<J8KN?@:?:FM<I<;<EK@K@<J8I<

89C<KFGLI:?8J<;IL>JLE;<IK?<GIF>I8D <JG@K<K?<D8JJ@M<>IFNK?@EK?< GIF>I8D

FECP  F= :FEKI8:K G?8ID8:P G8K@<EKJ :8E 9< J?FNE KF ?8M< I<:<@M<; 8EP 8JJ@JK8E:< 8K K?<

:FEKI8:KG?8ID8:P:FLEK<I  .?8K@J<M<E9<CFNK?<89PJD8CCPCFN ?FJG@K8C:?8I@KP:8I<




                                

  ;8D <@E8<93=+5<;/ /5B3718;/87<=8+7+1/+7>0+-=>;/;<G 87=;+-=
2+;6+-B /<=;3-=387<IL>?8EE<CJ):K 8M8@C89C<8K
?KKGJ NNN ;IL>:?8EE<CJ E<K       ?FJG@K8CJ 8I< I<CP@E> DFI< FE G9DJ KF ?KDCC8JKM@J@K<;
 <9   

   , FEK@/=+5"2/ ;>13<-8>7=;81;+6 8<93=+5</7/;+=/;803=<BA9+7.371
"8 /+-28;/005>/7=866>73=3/<"<8CK?==J   ?KKGJ 9@K CP 4 L*


   #,  E3<</.998;=>73=B"8..;/<<"28</"2+=;//.3-+55B#7./;</;?/. 
   #9.+=/ ?KKGJ 9@K CP <QP! F=:FM<I<;<EK@K@<JK?<DJ<CM<JEFKCF:8K<;@E
D<;@:8CLE;<IJ<IM<;8I<8J 


   , '8IK@E<K8C #+0##737=/7./.87</:>/7-/< 8@=2/008;.+,5/+;/-=/59/.
;8@=2/ ;81;+6L>   8M8@C89C<8K?KKGJ 9@K CP 2 1? 


   , '8IK@E/=+5#+0#;/3<-8>7=<37=2/ ;>13<-8>7=;81;+6/371!2+;/.
@3=2+=3/7=<+=87=;+-=2+;6+-3/<8M8@C89C<8K?KKGJ NNN @HM@8 :FD
  D<;@8 @HM@8 G;=J LJ N?@K< G8G<I 8I< ;@J:FLEKJ @E K?<  9 ;IL> ;@J:FLEK GIF>I8D 9<@E>
J?8I<; N@K? G8K@<EKJ 8K :FEKI8:K G?8ID8:@<J G;=C8JKM@J@K<; <9  

                                                     

       Case 1:24-cv-03188-RC              Document 21         Filed 02/10/25        Page 25 of 40




I8K<F= @E   LKKFGLKK?@JI8K<F=8JJ@JK8E:<@EKF<M<E>I<8K<II<C@<=DFI<K?8E 

F=K?</ - GFGLC8K@FE8I<LE@EJLI<;LE;<I@EJLI<;FI<OG<I@<E:<8>8G@E:FM<I8><<8:?P<8I  

 C<M<CF=8JJ@JK8E:<8KK?<G?8ID8:P:FLEK<IJ<<DJ@E;<=<EJ@9C<@EC@>?KF=K?<9@CC@FEJ8E;

9@CC@FEJ><E<I8K<;9PK?< GIF>I8D8E;K?@JC<M<CF=E<<; 

        #K@JKIL<K?8KEFE ?FJG@K8C :FM<I<;<EK@K@<JK?8KI<:<@M<>I8EKJ=IFD",-?8M<8

C@D@K<; F9C@>8K@FE KF GIFM@;< 8JJ@JK8E:< KF JFD< G8K@<EKJ @E:CL;@E> @E :FEE<:K@FE N@K?

G?8ID8:<LK@:8C@K<DJ8E;J<IM@:<J -G<:@=@:8CCPK?<J<<EK@K@<JN?@:?8::FLEK=FIEFDFI<K?8E

  F= K?< GIF>I8D 8I< F9C@>8K<; LE;<I K?FJ< >I8EKJ KF GIFM@;< WJC@;@E> J:8C<X 8JJ@JK8E:< KF

G8K@<EKJ 8K     F= K?< =<;<I8C GFM<IKP C@D@K FI 9<CFN  .?8K :FLGC<; N@K? K?< CFN I8K< F=

@;<EK@=@<; 8JJ@JK8E:< 8K :FEKI8:K G?8ID8:@<J >F<J 8 CFE> N8P KFN8I;J J?FN@E> N?P JF D8EP

G8K@<EKJ:FEK@EL<KFJKIL>>C<N@K?:F@EJLI8E:<8E;FK?<IFLKF=GF:B<K:FJKJ=FIK?<@I;IL>K?<I8GP 

        .?<   GIF>I8D @J 9IFB<E 8E; K?< IFFK :8LJ< @J 8 C8:B F= KI8EJG8I<E:P 89FLK N?8K

G<IJFEJ <EK@K@<J8I<:C8@D@E>8JK?<@IG8K@<EKJ8E;N?<K?<IK?<P8I<I<:<@M@E>:?8I@KP:8I<8K

K?<G?8ID8:P:FLEK<I .?<J<8I<@JJL<JK?8K8I<98K<DF;<C:8E8;;I<JJ CCF=K?@J@JEFKKFJ8P

                                

  *@FE<<I#EJK@KLK<"FJG@K8C?8I@KP8I<8M8@C89C<8K
?KKGJ G@FE<<I@EJK@KLK< FI>  989LJ< ?FJG@K8C :?8I@KP :8I< C8JKM@J@K<; <9   


  FDDFEN<8CK? LE;W.?<-K8K<F="<8CK?#EJLI8E:<FM<I8><@EK?</ - W W
G<I:<EKF=8;LCKJN<I<LE@EJLI<; G<I:<EK?8;8>8G@E:FM<I8><FM<IK?<G8JKP<8I8E;
G<I:<EKN<I<LE;<I@EJLI<;D<8E@E>K?<P?8;:FM<I8><=FI8=LCCP<8IK?8K;@;EZKGIFM@;<K?<DN@K?
8==FI;89C<8::<JJKF?<8CK?:8I<X8M8@C89C<8K
 ?KKGJ NNN :FDDFEN<8CK?=LE; FI> GL9C@:8K@FEJ JLIM<PJ   EFM JK8K< ?<8CK? @EJLI8E:<
:FM<I8>< LJ   9@<EE@8C JLIM<PC8JKM@J@K<; <9   

  / - <G8IKD<EKF="<8CK?8E;"LD8E-<IM@:<J"<8CK?8I< !FMW <;<I8C*FM<IKP&@D@KX
8M8@C89C<8K?KKGJ NNN ?<8CK?:8I< >FM >CFJJ8IP =<;<I8C GFM<IKP C<M<C =GC C8JKM@J@K<; <9 
  )ECPF=K?</-GFGLC8K@FEN8J@E<C@>@9C<KFI<:<@M<8EP8JJ@JK8E:<LE;<IK?@J
JK8E;8I; %8@J<I 8D@CP FLE;8K@FEW@JKI@9LK@FEF=K?<.FK8C*FGLC8K@FE9P <;<I8C*FM<IKP
&<M<CX8M8@C89C<8K?KKGJ NNN B== FI> FK?<I JK8K< @E;@:8KFI GFGLC8K@FE LG KF 
=GC :LII<EK.@D<=I8D< JFIK'F;<C:FC#;&F:8K@FEJFIK8
J:C8JKM@J@K<; <9  

                                                       

         Case 1:24-cv-03188-RC           Document 21         Filed 02/10/25       Page 26 of 40




K?8K K?<I< 8I<EZK D8EP :FM<I<; <EK@K@<J K?8K ;F @E =8:K GIFM@;< D<8E@E>=LC :?8I@KP :8I< 8E;

8JJ@JK8E:<KFK?<MLCE<I89C<8KK?<G?8ID8:P:FLEK<I LKK?FJ<:FM<I<;<EK@K@<JK?8K;FK?<I@>?K

K?@E> 8I< K?<DJ<CM<J ?8ID<; 9P K?< C8:B F= KI8EJG8I<E:P K?8K D8IJ K?< GIF>I8D 8K GI<J<EK 8E;

GIFK<:KJK?FJ<K?8K=8@CKF;FI@>?K9PG8K@<EKJ 

            *!),2)&&:10-.-1%$-$%*

           JG8K@<EK8;MF:8K<JD@:@LI@8<8GGI<:@8K<K?8K*C8@EK@==ZJGC8E@JKFDFM<=FIN8I;@E8

K8I><K<;D8EE<I #K?8J:8IM<;FLK8CC:FM<I<;<EK@K@<J<O:<GK ;@JGIFGFIK@FE8K<?FJG@K8CJ

;@JK@E>L@J?@E>9<KN<<EK?FJ<<EK@K@<JK?8KJ<:LI<DL:?F=K?<GIF>I8DZJJL9J@;@<J9LKFECP8::FLEK

=FI8JD8CC=8:K@FE89FLK      F=G8IK@:@G8K@E><EK@K@<J8E;8CCFK?<I:FM<I<;<EK@KPKPG<J #K

8CJFD@:@LI@8<EFK<?8JC@D@K<;@KJGIF>I8DKFKNF;IL>J9FK?F=N?@:?8I<JL9A<:KKFK?<

#E=C8K@FE,<;L:K@FE:KWK?<#,XD8E;8K<;GI@:@E>N?<I<K?<I<E<<;JKF9<8=LE:K@FE8CD<8EJ

KF<EJLI<K?8K ;LGC@:8K<;@J:FLEKJ;FEFK:FDGC@:8K<8E8CI<8;P;@JKLI9@E>C<M<CF=;LGC@:8K<J

8E; ;<=<8K #,  @DGC<D<EK8K@FE   #DGFIK8EKCP LE;<I 8 I<98K< DF;<C ",- NFLC; I<K8@E @KJ

<E=FI:<D<EKD<:?8E@JDJ8E;:FLC;8GGIFGI@8K<CPGLIJL<I<98K<JPJK<DJJ?FLC;K?<P9<JKIL:KLI<;

KF<==<:K@M<CPGIFM@;<EFWF==<IXF= GI@:@E>FE8EP,87+03./98J@J8JK?<:FLIKJ?8M<8CI<8;P

?<C; 

                                



                                

  <:8LJ<F=K?<;@==<I<E:<J9<KN<<E ?FJG@K8CJ8E;JFD<FK?<I:FM<I<;<EK@K@<JC@B<:C@E@:J
J<IM@E>"#08E;#-G8K@<EKJD@:@LI@8<8GGI<:@8K<K?8K@E;<GCFP@E>I<98K<D<:?8E@JDJ
D8EL=8:KLI<IJC@B<*C8@EK@==?8M<K8B<EJL:?JK<GJ8J:8IM@E>FLKJFD< :C@E@:KPG<J
C@D@K@E>K?<ELD9<IF=;IL>J@EMFCM<;;<J@>E@E>I8G@;G8PD<EKKLIE 8IFLE;J8E; FI:FEJ@;<I@E>
<M<E=8JK<IG8PD<EKJN?<I<8:FM<I<;<EK@KP:FDD@KJKFJ?8I< GI@:@E>N@K?G8K@<EKJ 

     ",-        8?/;/.7=3=B>;-2+</<8M8@C89C<8K?KKGJ 9@K CP 3 !+  


     !//8?+;=3<  K? 

                                                       

          Case 1:24-cv-03188-RC              Document 21         Filed 02/10/25        Page 27 of 40




          

                                                   

    I.         A REBATE MODEL IS A BADLY NEEDED MEANS TO ENABLE
                PATIENTS TO UNDERSTAND IF THEY ARE SHARING IN 340B
                PRICING.

     #E8GIF>I8DK?8K?8JCFJK@KJN8PK?<I<98K<DF;<C@J8D<:?8E@JDKF<EJLI<=8@I8E;

<HL@K89C<KI8EJG8I<E:P@E8CC;@I<:K@FEJ@E:CL;@E>=FIG8K@<EKJN?FJ<<DKF9<CFJ@E>8::<JJKF

:?8I@KP:8I<9FK?8KK?<G?8ID8:P:FLEK<I8E;<CJ<N?<I<<M<E8JK?<GIF>I8D<OG8E;J8E;

<OG8E;J9I@E>@E>8;;@K@FE8C9@CC@FEJKF9FK?:FM<I<;<EK@K@<J8E;KFWD@;;C<D<EXN?F8I<

89JFCLK<CPEFKK?<@EK<E;<;9<E<=@:@8I@<JF=K?<GIF>I8D 

           I<98K< DF;<C :8E 8E; J?FLC; >@M< :FM<I<; <EK@K@<J KI8EJG8I<E:P @EKF D8EL=8:KLI<I

:FE:<JJ@FEJ<EJLI@E>K?8K:FM<I<;<EK@K@<JBEFNK?8KK?<P8I<@E=8:KI<:<@M@E>K?<GI@:<K?<P

J?FLC; #KJ?FLC;J@D@C8ICP8CCFND8EL=8:KLI<IJ8D<8EJF=?8M@E>:FE=@;<E:<N?<EK?<PD8B<

K?< GI@:<8M8@C89C<K?8KK?<P8I<EFKG8P@E>;LGC@:8K<;@J:FLEKJFI9<@E>K8I><K<;9P;@M<IJ@FE

J:?<D<J  FI K?< JK8K<J K?< I<98K< DF;<C :8E 9< 8 D<8EJ KF >L8I; 8>8@EJK @DGIFG<I '<;@:8@;

G8PD<EKJ :FEJ<IM@E> 98;CP E<<;<; '<;@:8@; I<JFLI:<J D<8EK KF GIFM@;< D<;@:8C :8I< KF K?<

@E;@><EK8E;;@J89C<; 

              @E8CCP 8 I<98K< DF;<C :8E 8E; J?FLC; 8CCFN G8K@<EKJ KF LE;<IJK8E; N?<K?<I K?<P 8I<

I<:<@M@E>8EPG8IKF=K?<9<E<=@KF= GI@:@E>8KK?<G?8ID8:P:FLEK<I .?8K@JGFJJ@9C<9<:8LJ<

8J*C8@EK@==J8PJ@E@KJFDGC8@EK8KSK?<I<98K<DF;<C8CCFNJ=FIK?<@;<EK@=@:8K@FEF=W 

<C@>@9C< G8K@<EKJ @E I<8C K@D<X N?@:? @J K?< E<:<JJ8IP GI<;@:8K< =FI @E=FID@E> G8K@<EKJ 89FLK

N?<K?<IFIEFKK?<PI<:<@M<89<E<=@K8KK?<G?8ID8:P:FLEK<I *IFD@J@E>CP8EFK?<ID8EL=8:KLI<I

GC8@EK@==@EFE<F=K?<FK?<IG<E;@E>:8J<J?8J<M<E;@J:LJJ<;N@K?",-GIFM@;@E>I<98K<JW<M<E




                                                          

          Case 1:24-cv-03188-RC             Document 21        Filed 02/10/25        Page 28 of 40




=8JK<IX K?8E WJ<M<E KF K<E ;8PJX @= 8 :FM<I<; <EK@KP WJ?8I<5J6 K?<   GI@:< ;@I<:KCP N@K? K?<

G8K@<EKX 

              1FIB@E>@E:FCC89FI8K@FEN@K?8CCJK8B<?FC;<IJN<:8E8CCFNG8K@<EKJKFJ?8I<D<8E@E>=LCCP

@E ;@J:FLEKJ9LKJK@CC8CCFN:FM<I<;<EK@K@<JKFI<:<@M<M<IPJL9JK8EK@8CJL9J@;@<J9<PFE;K?8K

G8K@<EK J?8I@E>  LK K?< I<98K< DF;<C @J K?< <37/ :>+ 787 F= K?8K <==FIK >@M<E K?< M<IP GFFI

G<I=FID8E:<F=D8EP:FM<I<;<EK@K@<JKF;8K< 

       II.      PLAINTIFF’S MODEL IS A BONA FIDE OFFER COMPLETELY
                 CONSISTENT WITH THE STATUTE.

        #E8?+;=3<      K?8K",-8JJ<IK<;8E8LK?FI@KPK?<89@C@KPKF=FI<JK8CC8EP

:FEKI8:KG?8ID8:PC@D@K8K@FEJ98J<;FE8JK8KLKFIPGFN<I@K;F<JEFK?8M< .?</- FLIKF=

GG<8CJ=FIK?<@JKI@:KF=FCLD9@8@I:L@KJKIL:B;FNE",-ZJW8K<OKL8C8E;8?@JKFI@:8C

GFJ@K@FEX9<:8LJ<K?<D8EL=8:KLI<IF==<IJK?<I<N<I<W9FE8=@;<X !//3..?8K?FC;@E>@J

:FEKIFCC@E>?<I<N?<I<",-ZJWGI< 8GGIFM8CX8LK?FI@KP@JP<K8EFK?<IW8K<OKL8C8E;

8?@JKFI@:8CX;<M@8K@FE=IFDK?<JK8KLK<;<J@>E<;KFFM<II@;<8EFK?<IW9FE8=@;<XF==<I 

        #K@J8?@>?98I=FI",-KF;<DFEJKI8K<K?8K8EF==<I@JEFK9FE8=@;< .?8KJK8E;8I;@J

D<KN?<I<8D8EL=8:KLI<I8JJ<IKJW:FE;@K@FEJTFE<IFLJ<EFL>?KF<==<:K@M<CP@E:I<8J<K?<

:FEKI8:KYGI@:<ZXJF8JKFJ<K@KW89FM<K?<JK8KLKFIP:<@C@E>X .8K .?8K@J:C<8ICPEFKK?<

:8J<?<I< 

        1?<K?<I*C8@EK@==<==<:KL8K<JK?<:FII<:KGI@:<9P8WI<98K<FI;@J:FLEKX*C8@EK@==ZJDF;<C

8JGI<J<EK<;HL@K<:C<8ICP<==<:KL8K<JK?<:FII<:KGI@:<8E;K?<I<8I<EFWLEI<8JFE89C<

:FE;@K@FEJXGI<J<EK . .?<GIFGFJ<;I<98K<DF;<CFECP8GGC@<JKF;@JGIFGFIK@FE8K<?FJG@K8CJ


                                

     FDGC8@EKI@JKFC'P<IJ-HL@99M  @EB<K8C   :M    8KS 



                                                       

       Case 1:24-cv-03188-RC          Document 21         Filed 02/10/25     Page 29 of 40




KPG@:8CCPC8I><D8JJ@M<CPI<JFLI:<;8E;JFG?@JK@:8K<;GC8P<IJ  LIK?<I@K8GGC@<JKFFECPKNFF=

*C8@EK@==ZJD8EP;IL>J 

     #K:FEK<DGC8K<J8G8PD<EKN@K?@EK<E;8PJD8P9<8JHL@:BCP8JJ<M<E .?<W:8IIP@E>

:FJKJX=FI8EP;IL>FM<IJFJ?FIK8G<I@F;NFLC;9<8JC@M<IF=K?<CL:I8K@M<=@E8E:@8CFGGFIKLE@KP

K?<J<C8I><:FM<I<;<EK@K@<J?8M<LE;<IK?<GIF>I8D JK?<'@EE<JFK8 ,<GFIKJ?FNJ 

I<M<EL<89FM<:FM<I<;<EK@KP8:HL@J@K@FE:FJKJ@J8KC<8JK !//'@EE<JFK8<G8IKD<EKF=

"<8CK? FM<I<;EK@KP,<GFIK(FM    

     #E8;;@K@FEN<8>I<<N@K?*C8@EK@==K?8KK?<;8K8K?8KNFLC;9<I<HL<JK<;LE;<IK?<I<98K<

DF;<C@JEFK9LI;<EJFD<9<:8LJ<K?8K@E=FID8K@FE@JW8CI<8;P:FCC<:K<;9P <EK@K@<J@EK?<

EFID8C:FLIJ<F=9LJ@E<JJX FDGC8@EK8K       #E;<<;:FM<I<;<EK@K@<J:8EEFKC8N=LCCP

G8IK@:@G8K<@EK?< GIF>I8DN@K?FLK:FCC<:K@E>K?<;8K88K@JJL<N?@:?K?<PIFLK@E<CPJ<E;KF

K?<@IWFNEK?@I;G8IKP8;D@E@JKI8KFIJXKF;<M<CFG898J@J=FIW:8K8CF>@E>XG8K@<EKJ@EFI;<IKF

:8GKLI<K?<I<@D9LIJ<D<EKJGI<8; !//8?+;=3<       K?8K  .?FJ<W8;D@E@JKI8KFIJX

N?@:?@E:CL;<8==@C@8K<JF=JFD<F=K?<C8I><JK8E;DFJKJFG?@JK@:8K<;<EK@K@<J@E?<8CK?:8I<8I<

89C<KF<==@:@<EKCPKI8EJD@K8CCK?<E<:<JJ8IP;8K8KFD8EL=8:KLI<IJ 

     )EK?<J<=8:KJ@KNFLC;9<K?<?<@>?KF=W8I9@KI8IP8E;:8GI@:@FLJX:FE;L:K=FIK?<

-<:I<K8IPKFI<=LJ<KFI<:F>E@Q<9FE8=@;<I<98K<F==<IJ8:KL8CCPWG8@;XN@K?@EALJKWJ<M<EKFK<E

;8PJXF=K?<KI@>><I@E>WGLI:?8J<X .?@J@JG8IK@:LC8ICPKIL<9<:8LJ<K?8KJG<<;@EK?<G8PD<EKF=

I<98K<J@JDL:?=8JK<IK?8EK?< KF ;8PJK?8KLJL8CCP8GGC@<J=FII<98K<JG8@;KFFK?<I

:LJKFD<IJ .?LJ",-I8K?<I89JLI;CPI<A<:KJ9;/0/;/7=3+5KI<8KD<EK=FI:FM<I<;<EK@K@<J?3<

D?3<FK?<II<98K<:LJKFD<IJ 


                              
  <CCW,<98K<J8KK?<*F@EKF=-8C<X"2/-=>+;B'8P  8M8@C89C<8K


?KKGJ NNN K?<8:KL8IPD8>8Q@E< FI> I<98K<J 8K K?< GF@EK F= J8C< C8JKM@J@K<; <9   

                                                  

             Case 1:24-cv-03188-RC           Document 21         Filed 02/10/25       Page 30 of 40




           #EK?@JI<>8I;*C8@EK@==@JI@>?KKF?8DD<I8N8P8KK?<GF@EKK?8K@K@JJ<KK@E>8=8JK<I

JK8E;8I;K?8EK?<<EK<IJ=FI'<;@:8I<8E;'<;@:8@;-<IM@:<J8J@JK<I8><E:PKF",-J<K

<M<E@EK?<LELJL8CCP<OG<;@K<;'<;@:8I<E<>FK@8K<;GI@:<:FEK<OKLE;<IK?<#, ;8PJ 

",-ZJI<=LJ8CKFI<:F>E@Q<G8PD<EKJD8;<WN@K?@EJ<M<EKFK<E;8PJXJ@DGCP:8EEFK9<

JHL8I<;N@K?<@K?<I8?+;=3<ZW9FE8=@;<F==<IXK<JKFIN@K?K?<I<:<EKCP>FM<IED<EK=FIDLC8K<;

#,JK8E;8I; 

           ::FI;@E>CPK?@J:FLIKJ?FLC;>I8EK*C8@EK@==ZJ'FK@FE=FI-LDD8IP$L;>D<EK8JK?<

I<98K<DF;<C@J89FE8=@;<F==<IK?<FECPK?@E>K?8KK?<JK8KLK<I<HL@I<J 

       III.     THE PLAIN LANGUAGE OF THE STATUTE SPECIFICALLY
                 AUTHORIZES REBATES, AND HRSA IS WITHOUT ANY
                 AUTHORITY TO PRECLUDE THEM.

             .?<GC8@EC8E>L8><F=K?<JK8KLK<;<DFEJKI8K<JK?8K I<98K<J8I<JG<:@=@:8CCP8LK?FI@Q<;

8E;K?8KK?<-<:I<K8IP?8JEFI<98K<WGI< 8GGIFM8CX8LK?FI@KPK?<-<:I<K8IPZJI<8;@E>F=K?<

W8JGIFM@;<;9PK?<-<:I<K8IPXC8E>L8><@J:FDGC<K<CP8KF;;JN@K?K?<JKIL:KLI<F=K?<JK8KLK<8E;

K?<-<:I<K8IPZJ@EK<IGI<K8K@FE@J8I9@KI8IP8E;:8GI@:@FLJ8E;NFLC;I<JLCK@E<M@K89CP@E89JLI;

:FLEK<I K<OKL8CFLK:FD<J 1<K8B<<8:?F=K?<J<GF@EKJ@EKLIE8GGI<:@8K@E>K?8KN<DLJK9<>@E

K?<JK8KLKFIP8E8CPJ@JWN@K?K?<GC8@EC8E>L8><F=K?<JK8KLK< ZX36/7/C?>+;=/;6+7/ - 

              

                                      




                                       

     8?+;=3<      K?8K 

                                                          

       Case 1:24-cv-03188-RC             Document 21         Filed 02/10/25      Page 31 of 40




        

                (% *!), !,'3!'% -& 2(% 2!232% *%!0*6 %+-,120!2%1 2(!2 %"!2%1 0%
                  .%#)&)#!**6 32(-0)7%$5)2(-32!,680% ..0-4!*9"62(%%#0%2!06

        -K8IK@E>8JN<DLJKN@K?K?<K<OK@K@J@DGFIK8EKKFJKI<JJKNF@EK<II<C8K<;:I@K@:8CCP

@DGFIK8EKK?I<J?FC;GF@EKJ N?8KK?<GC8@EC8E>L8><F=K?<JK8KLK<J8PJ8E;N?8K@K;F<J

EFKJ8P  


            @IJKK?<GC8@EC8E>L8><JK8K<JK?8K@E;<K<ID@E@E>WK?<8DFLEKI<HL@I<;KF9<G8@;X@K@J

E<:<JJ8IP=FIK?<-<:I<K8IPKFWK8B5<6@EKF8::FLEK+7B;/,+=/FI;@J:FLEKX / -  R

98 <DG?8J@J8;;<; .?<GC8@EC8E>L8><F=K?<JK8KLK<K?LJJK8K<JK?8KK?<I<8I<KNF

G8IKJKF8JJ<JJ@E>N?8K8D8EL=8:KLI<I?8J8:KL8CCPWG8@;XWI<98K<JXFEK?<FE<?8E;8E;

W;@J:FLEKJXFEK?<FK?<I . .?8K:C<8IK<OKL8CJ@>E8CK?8K9FK?WI<98K<JX8E;W;@J:FLEKJX8I<

JG<:@=@:8CCP8E;<HL8CCP8LK?FI@Q<;@JI<@E=FI:<;9PK?<9IF8;=I8D@E>F=K?<NFI;W8EPXK?8K

GI<:<;<J9FK?  LIK?<I9<PFE;K?8KK?<JK8KLK<I<=<IJ03;<=KFWI<98K<X8E;FECPJ<:FE;KF

W;@J:FLEKX@E;@:8K@E>@=8EPK?@E>K?8KK?<WI<98K<XD<:?8E@JDN8JK?<FE<9;36+;35B@EMFB<;

9PFE>I<JJ  


        <PFE;N?8KK?<JK8KLK<J8PJ@K@J<HL8CCP@DGFIK8EKKFF9J<IM<K?8K@KHL@K<<DG?8K@:8CCP

;F<JEFKJ8P8JK?<-<:I<K8IPJ<<DJKFJL>><JKK?8K8I<98K<DLJK9<W8GGIFM<;X9<=FI<@K@J

;<GCFP<; .?<NFI;W8GGIFM<XVFI8EPM8I@8K@FEF=@KV@JN?FCCP89J<EK=IFDK?<JK8KLK<?<I< 


                               

  =K<ID8B@E>K?<J<@E@K@8CGF@EKJN<N@CCI<KLIEN@K?K?<:FEK<OK<JK89C@J?<;KFK?<W8J
GIFM@;<;9PK?<-<:I<K8IPXC8E>L8>< 

  CK?FL>?@K@JLEE<:<JJ8IPKF:FEJ@;<IC<>@JC8K@M<?@JKFIP?<I<9<:8LJ<K?<GC8@EC8E>L8><F=
K?<JK8KLK<;<DFEJKI8K<JK?8KK?<-<:I<K8IPZJGFJ@K@FEDLJK9<I<A<:K<;K?<C<>@JC8K@M<?@JKFIP
:FEK<DGC8K<JWI<;L:K@FEJ@2/=2/;=2;8>12+.3<-8>7=;/,+=/8;8=2/;6/-2+73<6KFK?<J<
Y:FM<I<;<EK@K@<JZFE:FM<I<;FLKG8K@<EK;IL>J X" , ,<G (F 8K <DG?8J@J8;;<; 

                                                      

       Case 1:24-cv-03188-RC            Document 21        Filed 02/10/25       Page 32 of 40




!//3..?<-<:I<K8IP@EGI<JJ@E>=FI8WGI< 8GGIFM8CXGFN<I@JHL@K<C@K<I8CCP8KK<DGK@E>KF

@EJ<IK8NFI;@EKFK?<JK8KLK<K?8K@JEFKK?<I<N?@C<J@DLCK8E<FLJCPKIP@E>KF<C@D@E8K<NFI;JK?8K

8I<:C<8ICPK?<I<W8EPI<98K<X .?<-<:I<K8IPZJI<8;@E>8J8:FEJ<HL<E:<@J;FL9CPNIFE> 


        #=FE>I<JJ?8;@EK<E;<;KF:I<8K<8EW8GGIFM8CXGFN<I@KNFLC;?8M<:C<8ICPJ8@;JF #K

:FLC;HL@K<<8J@CP?8M<J8@;=FI@EJK8E:<K?8KW;@J:FLEKJ8I<G<ID@JJ@9C<9LKI<98K<JD8PFECP

9<LJ<;@=K?<-<:I<K8IP8GGIFM<JJL:?I<98K<X LKK?8K@JEFKN?8KFE>I<JJJ8@; -@>E@=@:8EKCP

K?<-<:I<K8IPE<M<I8JJ<IK<;JL:?8WGI< 8GGIFM8CXGFN<I=FIDFI<K?8EK?I<<;<:8;<J  .?8KZJ

EFKJLIGI@J@E>V9<:8LJ<EFJL:?GFN<I<O@JKJ 


              (%203#230%-&2(%2!232%1-0+%$"62(% )12),#2)-,"%25%%,2(%8 %)*),'
                0)#%9!,$2(%8 +-3,2%/3)0%$2- %!)$9

        .FLE;<IJK8E;N?8KK?<G?I8J<W8JGIFM@;<;9PK?<-<:I<K8IPXD<8EJ8E;;F<JEFK

D<8E@K@J@DGFIK8EKKF=F:LJFEK?<JKIL:KLI<F=K?<JK8KLK<N?@:?8;;I<JJ<JKNF;@==<I<EK

K?@E>J K?<:8C:LC8K@FEF=K?<W:<@C@E>GI@:<X8E;J<G8I8K<CPK?<W8::FLEK5@E>6X=FIK?<

W8DFLEKI<HL@I<;KF9<G8@;X / -  R98   


        .?<I<@J=@IJK8J8K<DGFI8CD8KK<ILE;<IK?<JK8KLK<K?<K8JBF=:8C:LC8K@E>K?<W:<@C@E>

GI@:<XK?<K8I><KK?8KDLJK9<?@K@EFI;<I=FIK?<JK8KLKFIPI<HL@I<D<EKKF9<J8K@J=@<; .?<

JK8KLK<JG<8BJKFK?@JG8IKF=K?<<HL8K@FE9PJK8K@E>K?8KK?<W:<@C@E>GI@:<XK?<K8I><K@JW<HL8C

KFK?<8M<I8><D8EL=8:KLI<IGI@:<X8;<=@E<;K<IDLE;<IK?<'<;@:8@;I<98K<GIF>I8DW@EK?<

GI<:<;@E>:8C<E;8IHL8IK<II<;L:<;9PK?<I<98K<G<I:<EK8><XN?@:?@JW;<J:I@9<;@EG8I8>I8G?



                              

  .?<*DF;<C8E;K?<I<GC<E@J?D<EKDF;<C8I<9FK?WI<KIFJG<:K@M<XJPJK<DJC@B<K?<
I<98K<DF;<C LK",-?8JE<M<I:FE;@K@FE<;K?FJ<DF;<CJFE8WGI< 8GGIFM8CX !///1
  <; ,<> L>  ;@J:LJJ@E>*J #E;<<;@K?8JE<M<I:FE;@K@FE<;K?<LJ<
F=8EPW;@J:FLEKXFE8GI< 8GGIFM8C 

                                                    

       Case 1:24-cv-03188-RC            Document 21         Filed 02/10/25       Page 33 of 40




X ..?<K8I><K<;W:<@C@E>GI@:<X@J:8C:LC8K<;8J8K<DGFI8CD8KK<I=@IJK8E;W=LIE@J?5<;6X

KFK?<-<:I<K8IP@EWI<GFIKJX .


        -<:FE;8=K<I8:<@C@E>GI@:<@J:8C:LC8K<;I<GFIK<;8E;K?<JK8B<?FC;<IJ?8M<:?FJ<EK?<

D<8EJK?<PK?@EB9<JKVWI<98K<FI;@J:FLEKXVKF<==<:KL8K<K?8K:<@C@E>GI@:<K?<I<DLJK9<8E

W8::FLEK@E>XF=K?<W8DFLEKJTG8@;X8JK?<;IL>=CFNJK?IFL>?M8I@FLJ<EK@K@<J@EK?<

;@JKI@9LK@FE:?8@ELEK@C@KI<8:?<JK?<:FM<I<;<EK@KP . #EFK?<INFI;JW8EPI<98K<FI;@J:FLEKX

K?8K@JG8@;DLJK9<JL9A<:KKF<M8CL8K@FEKF;<K<ID@E<K?8KK?FJ<W8DFLEKJX8:KL8CCPN<I<WG8@;X

JL:?K?8KK?<W:<@C@E>GI@:<XK8I><KN8JJ8K@J=@<; . 


        E<O8DGC<N@CC@CCLJKI8K< #EFLI<O8DGC<K?< :<@C@E>GI@:<8J:8C:LC8K<;8E;

I<GFIK<;KFK?<-<:I<K8IP=FI8;IL>@J      .?<D8EL=8:KLI<I@E@K@8CCPJ<CCJK?<;IL>8K8     

C@JKGI@:<KF8;@JKI@9LKFIK?<=@IJK<EK@KP@EK?<;@JKI@9LK@FE:?8@E .?<;IL>D8B<IF==<IJ 8K

K?8KK@D<KFK?<;@JKI@9LKFIK?@EB@E>K?8K   N@CC9<G8JJ<;FEKFK?<JL9J<HL<EKGLI:?8J<I8J8

98J<;@J:FLEKN?<K?<IK?<GLI:?8J<I@J8 <EK@KPFIEFK .?<I<8=K<I@E8:8J<N?<I<K?<

GIF;L:K@J@E=8:KGLI:?8J<;9P8:FM<I<;<EK@KPK?<D8EL=8:KLI<I<OK<E;J8=LIK?<I 

WI<98K<XKFK?8K<EK@KPG8P89C<C@B<@E*C8@EK@==ZJDF;<CWN@K?@EJ<M<EKFK<E;8PJXF=K?<

:FM<I<;<EK@KPZJKI@>><I@E>WGLI:?8J<X 


        FEKI8IPKFK?<D8EL=8:KLI<IZJ@EK<EK?FN<M<IK?<;@JKI@9LKFI:?8I><JK?<:FM<I<;<EK@KP

 G8JJ@E>FECPF=K?<@E@K@8C KFK?<:FM<I<;<EK@KPEFK      .?LJK?<:FM<I<;<EK@KP

?8JLEBEFNEKFK?<D8EL=8:KLI<I9<<E:?8I><;8E<KGI@:<F=               EFKK?<

W:<@C@E>GI@:<XF=     


        .?@J@JN?<I<K?<W8JGIFM@;<;9PK?<-<:I<K8IPXC8E>L8><8GGC@<J #=K?<:FM<I<;<EK@KP

:FDGC8@EJKFK?<8><E:PK?8K@K;@;EFK8:KL8CCPI<:<@M<K?<W8DFLEKI<HL@I<;KF9<G8@;XK?<

                                                    

       Case 1:24-cv-03188-RC           Document 21         Filed 02/10/25       Page 34 of 40




-<:I<K8IPD8P;<K<ID@E<K?8KW8DFLEKX9PWK8B@E>@EKF8::FLEK8EPI<98K<FI;@J:FLEKX8:KL8CCP

G8@; . .?<-<:I<K8IPWGIFM@;<5J6X=FIW8EPI<98K<FI;@J:FLEKX+-=>+55BKI8EJ=<II<;KFK?<

:FM<I<;<EK@KP9LKJ?<N@CCEFKWGIFM@;<56X=FI8EP8DFLEKK?8K@J78=8:KL8CCPG8JJ<;KFK?<

:FM<I<;<EK@KP . 


        .?<C8E>L8><K?8KK?<-<:I<K8IPD@JI<8;JKFJLGGFJ<;CP<EK@KC<?<IKFI<8;K?<NFI;

WI<98K<X<EK@I<CPFLKF=K?<JK8KLK<FECP@E=8:K8;;I<JJ<JK?@JGFK<EK@8CW8::FLEK5@E>6X@JJL< #K@J

EF8::@;<EKK?8KK?<<EK@I<G8I<EK?<K@:8CWK8B@E>@EKF8::FLEK8EPI<98K<FI;@J:FLEK8JGIFM@;<;

9PK?<-<:I<K8IPXDF;@=@<JK?<G?I8J<WK?<8DFLEKI<HL@I<;KF9<G8@;X ..?<WGIFM@;<;X

C8E>L8><@J89FLKK?<W8DFLEKXF=8WI<98K<FI;@J:FLEKX=FIG8PD<EK<M8CL8K@FEGLIGFJ<JEFK

K?<HL<JK@FEN?<K?<I<@K?<I8WI<98K<FI;@J:FLEKXD8P9<LJ<;8J8D<:?8E@JD !//3. 


        -8@;8EFK?<IN8PK?<JK8KLK<;@I<:KJK?<-<:I<K8IPKFWGIFM@;<X=FIW8EPI<98K<FI

;@J:FLEKX@EW8::FLEK5@E>6X=FIK?<W8DFLEKJX8:KL8CCPWG8@;X #K>@M<JK?<-<:I<K8IPEFGFN<I

8K8CCKF=FI<:CFJ<I<98K<J8J8E8::<GK89C<6/+7<F=<EJLI@E>K?8KK?<:FII<:KW8DFLEKX@JWG8@;X

EFDFI<K?8E@K:FLC;WGI< 8GGIFM8CX;@J:FLEKJ@EKFF9C@M@FE .?<JK8KLK<JG<:@=@:8CCP8LK?FI@Q<J

JK8B<?FC;<IJKFJ<C<:KW8EPI<98K<FI;@J:FLEKXN@K?FLK@EK<I=<I<E:< LK@=K?<WI<98K<FI

;@J:FLEKX;F<JEFK8:KL8CCPD8B<@KKFK?<:FM<I<;<EK@KPK?<JK8KLK<G<ID@KJK?<-<:I<K8IPKF

8;;I<JJK?8KW8DFLEKXHL<JK@FE 


              2-3*$"% 0")20!06!,$ !.0)#)-31&-02(%%#0%2!062- )10%'!0$%"!2%1
                  #23!**6!)$2- -4%0%$,2)2)%1

        FLIKJDLJKJ<<B8WJ<EJ@9C<:FEJKIL:K@FE5F=8JK8KLK<6K?8K8MF@;J   8E89JLI;

:FE:CLJ@FE X#73=/.!=+=/<?;+7./;<87       / -  @EK<IE8CHLFK8K@FEJ8E;

:@K8K@FEFD@KK<;K?<-<:I<K8IP<==<:K@M<CPLI><JK?@J:FLIKKF;@JI<>8I;K?8K98J@:K<E<KF=

JK8KLKFIP@EK<IGI<K8K@FE@E8I>L@E>K?8KJ?<:8EJ@DGCP;@JI<>8I;WI<98K<JX:8K<>FI@:8CCPN?<E

                                                  

       Case 1:24-cv-03188-RC             Document 21         Filed 02/10/25    Page 35 of 40




WF==<I<;X9P8D8EL=8:KLI<I .?<-<:I<K8IPZJGFJ@K@FE@J8I9@KI8IP8E;:8GI@:@FLJ=FI8KC<8JKK?I<<

I<8JFEJ 


        3;<=8J8?+;=3<    K?8KD8;<:C<8I8CCK?8K8D8EL=8:KLI<I@JI<HL@I<;KF;F

LE;<IK?<JK8KLK<@JKFD8B<8W9FE8=@;<F==<IX8KK?<:<@C@E>GI@:< #==LE;J8:KL8CCPF==<I<;KF8

:FM<I<;<EK@KP@EK?<=FIDF=8I<98K<8I<:8K<>FI@:8CCP@>EFI<;9PK?<-<:I<K8IPK?<-<:I<K8IP

?8J<O:<<;<;?<I8LK?FI@KP9PI<HL@I@E>EFKALJK8W9FE8=@;<F==<IX9LK9P;<D8E;@E>8EF==<I@E

8=FID;@:K8K<;9PK?<-<:I<K8IP .?8KK?<-<:I<K8IP:8EEFK;F8JJ?<NFLC;9<=LE;8D<EK8CCP

I<NI@K@E>K?<E8KLI<8E;J:FG<F=K?<JK8KLKFIPWF==<IXF9C@>8K@FE .?<8?+;=3<;<:@J@FEN8J

:IPJK8C:C<8IK?8K@EK?<89J<E:<F=KILCPWFE<IFLJX:FE;@K@FEJ89FE8=@;<F==<IN8J:FDGC<K<CP

JL==@:@<EKKFJ8K@J=PK?<JK8KLKFIPF9C@>8K@FE .8K


        !/-87.I<=LJ@E>G8IK@:LC8ICPFE8:8K<>FI@:8C98J@JKFI<:F>E@Q<W8EPI<98K<XNFLC;9<

=LE;8D<EK8CCP@E:FEJ@JK<EKN@K?K?<-<:I<K8IPZJF9C@>8K@FEKFWGIFM@;<X=FIW8EPI<98K<XK?8K@J

@E=8:KWG8@;XKFK?<:FM<I<;<EK@KP / -  R9 #EJL:?8:8J<K?<-<:I<K8IPNFLC;?8M<

JKI<K:?<;K?<NFI;JWK8B@E>@EKF8::FLEKXWG8@;XW8EPI<98K<JFI;@J:FLEKJX8E;K?<F9C@>8K@FE

KFWGIFM@;<56X=FIK?<D9<PFE;K?<K<OKFIK?<JKIL:KLI<FIK?<GLIGFJ<F=K?<JK8KLK< .?<

-<:I<K8IP8KK?8KGF@EKNFLC;9<I<=LJ@E>KF8GGCP98J@:D8K?KF8J<KF=KI8EJ8:K@FEJ8E;K?<E

J8P@E>K?8KK?<89JLI;I<JLCKK?8K=FCCFNJ@JN?8KFE>I<JJ@EK<E;<; 


        "23;.GI<K<E;@E>K?8KI<98K<J8:KL8CCPG8@;;FEFK:FEKI@9LK<KFK?<W8DFLEKI<HL@I<;KF

9<G8@;XNFLC;C<8;KF8E89JLI;FLK:FD<K?8K@JJG<:@=@:8CCP78=8LK?FI@Q<;9PJK8KLK< .?<

JK8KLK<@J:C<8IFE@KJ=8:<K?8K8D8EL=8:KLI<IK?FL>?I<HL@I<;KFD8B<8EWF==<IX8KK?<:<@C@E>

GI@:<@J@EEFN8PF9C@>8K<;KF8CCFN:FM<I<;<EK@K@<JKFGLI:?8J<8K8EPGI@:<,/58@K?8K=@>LI< 

!/// -  R98  LK@=K?<-<:I<K8IP:8E;@JI<>8I;I<98K<J8:KL8CCPGIFM@;<;KF


                                                    

       Case 1:24-cv-03188-RC               Document 21            Filed 02/10/25             Page 36 of 40




:FM<I<;<EK@K@<JK?8K@J<O8:KCPN?8KNFLC;=FCCFN ,<KLIE@E>KFFLI<O8DGC<=IFD89FM<@=K?<

 I<98K<8:KL8CCPG8@;:8E9<;@JI<>8I;<;J@DGCP9<:8LJ<@K@J@EK?<=FIDF=8WI<98K<XK?<

-<:I<K8IP:FLC;=FI:<8E<EK@I<CP;LGC@:8K< G8PD<EK8E;8D8EL=8:KLI<I:FEKI8IPKFK?<

:C<8I@EK<EKF=K?<C8NNFLC;9<=FI:<;KFG8P8JL9:<@C@E>GI@:<K?8K=8I<O:<<;JK?<JK8KLKFIP

F9C@>8K@FE 


        .?<-<:I<K8IPZJ@EK<IGI<K8K@FEF=K?<JK8KLK<@JKI@GCP8I9@KI8IP8E;:8GI@:@FLJ8E;C<8;J

@E<M@K89CPKF89JLI;I<JLCKJ 


                                                  

            FIK?<J<I<8JFEJ*C8@EK@==ZJDFK@FE=FIJLDD8IPAL;>D<EKJ?FLC;9<>I8EK<; .?<K@D<

KFG<ID@KKI8EJG8I<E:P@EK?< GIF>I8D?8J:FD< #K@JEFKGFJJ@9C<N@K?FLK8KI8EJG8I<EK

JPJK<DKFJ<G8I8K<K?FJ<K?8KGLKK?<G8K@<EK=@IJK=IFDK?FJ<K?8K;FEFK *8K@<EKJE<<;8I<98K<

DF;<CEFN8E;",-?8JEF8LK?FI@KPKFJKFGK?@J98;CPE<<;<;JK<G=FIN8I; 

        

8K<; <9IL8IP      ,<JG<:K=LCCPJL9D@KK<;



                                                      J 
                                                     
                                                     1@CC@8D -8II8@CC<  8I(F  
                                                      -      
                                                      .<C<G?FE<  
                                                      N@CC@8DJ8II8@CC<@:CFL; :FD
                                                      
                                                      8>7</508;#73=/.+7..?8-+-B
                                                      

                                 




                                                        

         Case 1:24-cv-03188-RC          Document 21         Filed 02/10/25    Page 37 of 40




                                            
                                                     
         #?<I<9P:<IK@=PK?8KK?@J9I@<=:FDGC@<JN@K?K?<I<HL@I<D<EKJF=&F:8C,LC<8E;

    <;<I8C,LC<F=GG<CC8K<*IF:<;LI<89<:8LJ<@K;F<JEFK<O:<<;G8><J8E;LJ<J 

GF@EK.@D<J(<N,FD8E=FEK 



8K<; <9IL8IP                                J 77777777777777777777777         
                                                   1@CC@8D -8II8@CC<

                               




                                                    

      Case 1:24-cv-03188-RC          Document 21          Filed 02/10/25       Page 38 of 40




                                           
                                                  
      #?<I<9P:<IK@=PK?8K8:FGPF=K?<=FI<>F@E>N@CC9<J<IM<;K?@J K?;8PF= <9IL8IP 

<C<:KIFE@:8CCPK?IFL>?K?<FLIKZJ'  JPJK<DFE8CCI<>@JK<I<;:FLEJ<C 

                                                J 77777777777777
                                                1@CC@8D -8II8@CC<





                                                 

    Case 1:24-cv-03188-RC   Document 21   Filed 02/10/25   Page 39 of 40






                            
                    




                                    

         Case 1:24-cv-03188-RC       Document 21         Filed 02/10/25     Page 40 of 40




                         
                              
                                               
    $)"(-)($)"(-)("&.",               
    -3-.'-#( 
                                                 
    
    5+37=300                                  
                                                
    M
                                                8J<(F   :M  
    ),)."3 #(%@E?<IF==@:@8C:8G8:@KP
    8E;/ - *,.'(.) "&."(
    "/'(-,0#-
    
    8E;
    
    #(-*#()-@E?<IF==@:@8C:8G8:@KP
    8E;"&.",-)/,-(-,0#
    '#(#-.,.#)(
    /0/7.+7=<

                                
                                                
        "8M@E>:FEJ@;<I<;K?<'FK@FE=FI&<8M<KF @C<8ED@:LJI@<=8JJL9D@KK<;9PD@:@

LI@8< /E@K<;8E;*;MF:8:P8E;8EPFGGFJ@K@FEK?<I<KF8JN<CC8JK?<8GGC@:89C<

C8N8E;K?<I<C<M8EKI<:FI;K?<FLIKEFN>I8EKJJ8@;DFK@FE8E;;@I<:KJK?<C<IBKF<EK<IK?8K

I@<=FEKFK?<;F:B<K 

        #K@J-)),, 

        -@>E<;K?@J777;8PF= <9IL8IP 

                                               77777777777777777777777777777

                                               /E@K<;-K8K<J@JKI@:KFLIK$L;><





                                                  

                                                  

